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233 Wilshire Blvd., Suite 220

Santa Monica, California 90401

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Facsimile: 212-489-2384

Attorneys for Intervenor

Sam Wyly

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff,
- against -

MILBERG WEISS BERSHAD &
SCHULMAN LLP, DAVID J.
BERSHAD, STEVEN G.
SCITUILMAN, SEYMOUR M.
LAZAR, and PAUL T. SELZER

Defendants.

 

 

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Case No. 2:05-CR-587-JFW-3
[Assigned to Hon. John F. Walter]

EXHIBITS 1-3 TO DECLARATION
OF LUKE A. MCGRATH IN
SUPPORT OF INTERVENOR SAM
WYLY’S MOTION TO
INTERVENE AND FOR RELIEF
FROM PROTECTIVE ORDER

Date: February 9, 2009
‘Time: 9:00 a.m.
Room: 16

 

 

DECLARATION OF LUKE A MCGRATH IN SUPPORT OF MOTION OF SAM
WYLY TO INTERVENE AND FOR RELIEF FROM PROTECTIVE ORDER

ia

aS
Case 2:05-cr-00587-JFW Document 587 Filed 01/20/09 Page 2 of 84 Page ID #:6342

Exhibit 1

to

Declaration of Luke A. McGrath

In Support of Intervenor Sam Wyly’s
Motion to Intervene And For Relief
from Protective Order

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AS FILED WITH THE SECURITIES AND EXCHANGE COMMISSION ON FEBRUARY 22, 20600

?
REGISTRATION NO. 3332

 

SECURITIES AND EXCHANGE COMMISSION
WASHINGTON,

 

FORM £-4
REGISTRATION STATEMENT
UNDER
THE SECURITIES ACT CF 1933

CCMPUTER ASSOCIATES INTERNATIONAL, INC.
{Exact nate of registrant as specified in its chartar)

DELAWARE 7372

XX-XXXXXXX
(Stale os other jurisdiction of (Primary Standard Industrial {I.R.S. Employer
incorporaticn or organization) Classification Code Number} Identification Number)
COMPUTER ASSOCIATES INTERNATIONAL, INC.
ONE COMPUTER ASSOCIATES PLAZA
ISLAKRDIA, NEW YORK 11749-70696
(631) 342-5224
{Address, inciuding zip code, and telephone rumber, including area code, of
regiszrant's principal execttive offices)
STEVEN M. WOGHIN, ESQ.
SENIOR VICE PRESIDENT AND GENERAL COUNSEL
COMPUTER ASSOCIATES INTERNATIONAL, INC.
ONE COMPUTER ASSOCIATES PLAZA
ISLANDIA, NEW YORK 11749 7000
(631) 342-S224
iName, address, including zip code, and telephone number, including area code,
of agent for service}
COPIES TO:
SCOTT F. SMITH, ESQ.
STEPHEN A. INFANTE, ESQ.
J. DO, WEINBERG, ESQ.
COVINGTON & SURLING
1330 AVENUE OF THE AMERTCAS
NEW YORK, NEW YORK 10613
{212} 841-1600
APPROXIMATE DATE OF COMMENCEMENT OF PROPOSED SALE OF THE SECURITIES TO THE
PUBLIC: As soon aS practicable after this registration statenent becomes
effective and upon consummation of the transactions describec in the enclosed
Prospectus.
{1 the securities being registered on this Form are being offered in .
connection with the farmation of a holding company end there is compliance with
General Instruction G, check the following box. / /
If this Form is filed to register additional securitias for an offering
pursuant to Rule 462(6) under the Securities Act, check the following box anc
bist the Securities Act registration statement number of the earlier effective
vagistration statement for the same offering. / /
If this Form is a pest-effective amendment filed pursuant to Rule 462(d)}
under the Securities Act, chezk the folicwing cox and list the Securities Act
registration statement number of the earlier effective registration statement
for the same offering. / /
CALCULATION Of REGISTRATION FEE
PROPOSED MAXLMUH PROPOSED MAXINUM
TITLE OF EACH CLASS OF SECURITIES AMOUNT TO BE OPLERING PRICE AGGREGATE AHOUNT OF
TO BE REGISTERED (1) REGISTERED (2) PER ONIT (31 OFFERING ERICE (2) REGISTRATION FEE
Common Stock, par value $.10 per Share
fincluding the associated preferred stock
purchase Tights).... cc ccs ese eee e eens SE, 340,000 shares Gs/A $3, 635,629,906 $854,529

Source: CA, INC., S-4, February 22, 2000

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Exhibit 1
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STERLING SOFTWARZ, INC.

300 Crescent Court, Suite 120¢
Dallas, Texas 75201

(214) 981-1900

Sterling Software is a woridwide developer and provider of systems
management, business intelligence and epp_ication development seftware procucts
and services, as well as a supplier of specialized [T services for sectors of
the federal government. Founded in 1981], Steriing Software's customers include
approximately 90% cf the Fortune 100 and encompass a worldwide installed base of
more than 20,000 customer sites. Sterling Software operates tnrough four
principal business segments: systems management, application development,
business inteiligence and federal systems. Worldwide revenue from Sterling
Scftware's systems management, application development, business inteiligence
and fed2ral systems business segments represented 36%, 34%, 10% and 23%,
respectively, of Steriing Software's total fiscai year 1999 revenues.
Approximately 37% cf Sterling Software's zcevenucs were gencrated outside of the
United States in fiscal year 1999.

As of Occember 31, 1999, Sterling Sofiware employed approximately 3,800
employees in 90 offices worldwide, Sterling Software has direct sales offices in
21 countries and distributors and agents in approximately 49 adcitional
countries.

Sterling Softwere reported $307 million in revenues for the fiscal year
ended September 30, 1999.

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BACKGROUND OF THE OFFER

In late 1399, in the ceurse of its normal reviews of its business, Computer
Associates’ senior management reviewed and analyzed the company’s position in
the marketplace and possiile new areas inte which Computer Associates could
enter to further differentiate the company from its competitors. In that review,
iMatagemenl identified dala storaye and dpolication development and services as
areas in which Computer Associates could improve its competitive position. One
of the conclusions reached by senior management was the need to further expand
its product and service offerings in these areas.

Computer Associates’ senior management identified the 0S/390 platform as one
hardware platform in which it did not compete for disk Storage management tools
and for which it also desired to extend its object oriented application
development Cool offerings. Managerent also identified Sterling Software as a
company that has prodicts and services in these areas as well as other areas
thal are complementary to Computer Associates’ product lines, and that could be
@ possible acquisition candidate.

Independently from the management reviews, in late 1939 a representative of
Morgan Stanley & Co. Incorporated, conzactec Sanjay Kumar, President and Cniet
Onerating Office of Computer Associates, to inquire as to whether Cormputer
Associates might be interested in acquiring Sterling Software. At that Cime,
Mr. Kumar advised Morgan Stanley that Computer Associates was not interested in
acquiring Sterling Software.

Sn January 14, 2000, Mr. Kumar met with representatives of Morgan Stanley to
hear Mergan Stanley's industry and strategic views. During the course of the
conversation, the possibility was raised again that Computer Associates might be
interested in acquiring Sterling Software. Following the Morcan Stanley mesting,
Mr. Kumar callec Sam #yly, Chairman of Sterling Software, to discuss the

possibility of 2 business combination setween Computer Associates and Sterling
Software.

On January 18, 2000, Mr. Xumar met Mr. Wyly in Dal.as to discuss the
potential business combinstion and vaivation issues.

On January 23, 2000, Mr. Kumar, along with Ira Zar, Chief Financial Officer,
and Charles McWade, Senior Vice President of Computer Associates, and
representatives of Morgan Stanley, met with Mr. Wyly, Sterling Nilliams,
President and Chief Executive Officer, and other members of senior management of
Sterling Software. Sterling Saftware's management presented an overview of
Sterling Software's business information.

At the quarterly meeting of Computer Associates’ Board of Directors on
January 25, 2000, Mr. Kumar raised the pessibility of an acquisition of Sterling
Software and outlined the strategic raticnale for such an acquisition.

Mr. Kumar and Mr. Williams spoke on a number of occasions between
January 26 and February 3, 20900 to discuss valuation issues and possible
structure and timing considerations. On february 4, 2000, Mr. Kamar met with
Mc. Williams and Logan Wray, Chief Financial Officer of Sterlisg Scftware, to
ceview valuation and financial issues anc the possible benefits of a business
combination.

On February 6, 2000, in a call with Mr. Williams, Mr. Kumar indicated that
Computer Associates was interested in pursuing a possible business combination

at a valuation of between $38.2& and $39.25 per share for each share of Sterling
Software's common stock... Computer-Associetes'. interest in such a combination was

Source: CA, INC., S-4, February 22, 2000

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Case 2:05-cr-00587-JFW Document 587 Filed 01/20/09 Page 5 of 84 Page ID #:6345

subject to its completing to its satisfaction a due diligence review and
mutuelly satisfactory definitive agreements, as well as the approval of che
Computer Associates’ Board of Directors. Mr. Kumar indicated that at thaz time
he Lhought the combinetion would be structured as a stock for stock merger and
would use purchase accounting. Mr. Komar and Mr. Williams also discussed timing,
structure and logistic issues.

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On February 7 and 8, 2000, Mr. Xumar and Mr. Williams continved the
discussion of the terms and timing of a possible transaction. Mr. Kumar
indicated on February 8, 2000 that Computer Assovietes would be williny to
increase the valwarion te $39.50 per share and to agree to otner specified
conditions about the terms of the marger, such as a 10% coliar and the treatment
of stock options.

On February 9, 2000, Computer Associates and Sterling Seftware enzered into
confidentiality agreemencs and representatives of Computer Associates and its
counsel, Covington & Burling, met in Dellas with representatives of Sterlirg
Software and its ceunsel, Skadden Arps, to continue Computer Associates’ dre
diligence review and begin negotiating definitive agreements. Due diligence
xveviews and document negotiations continued into the early morning of
February 14, 2000. Mr. Kamar lett Dallas on the evening of tebruary 1) and
returned early the morning of February 12? with additional members of Computer
Associates senior management to continue due diligence reviews cf Sterling
Software's business and operations.

The Compuzer Associates Board cf Directors met by conference call on
February 10, 2000 end again on February 13, 2000. In the February 10 meeting,
Mr. Xumar reviewed the status of the possible business combination with Sterling
Software end the status of the due diligence review. Ir the February 13 meeting,
Mr. Xumar and Mr. Zar reported on the status of the potential transacticn and
the board unanimousiy appreved the acquisition of Sterling Software and
authorized Mr. Kumar and the officers of the company to enter into the werger
agreoment.

Before the open of the New York Stock Exchange on February 14, 2000,
Computer Associates and Sterling Software entered into the merger agreement and
announced the transaction.

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THE OFFER
BASIC TERNS

EXCHANGE Of SHARES; EXCHANGE RATIO. We ore offcring to exchange 0.5634
shares of Computer Associates commen szock for each outstanding share of common
stock of Sterling Software that is validly tendered and not properly withdrawn,
We sometimes refer to this number of Computer Associates shares as the “exchange
ratio.”

ADCUSTMENTS TO EXCHANGE RATIO. We will reset the exchance ratio if, at the
time that the offer has cléared waiting periods under applicable antitrust laws
and Lhe SEC has declared effective the registration statement of which this
prospectus is a part, the average ci tne daily avereqe of the high ard iow sales
price per share of Computer Associates common stock on the NYSE Compesite
Transaction Tape over the ten trading days imaediately preceding the first day
on which we have obtained all those ‘regulatory clearances, which we cail the
“average Computer Associates trading price,” is greater than 377.12 or jess then
$63.10,

If at the end of that ten trading Jay period the average CompuLer Associates
trading price is greater than $77.12, then the number of shares of Computer
Associates cemmon stock that we are offering to exchange for each share of
Sterling Software common stock wiil be reset to be $43.43 divided by the average
Computer Asscciates trading price. This reset is designed to provide you with a
number of Computer Associates shares having a value of $43.45 on the reset date,
based on the average Computer Associates trading price, for eacn of your
Sterling Software shares.

if at the end of that ten trading day period the average Computer Associztes
tracing price is lass than 563.10, then the number of shares of Computer
Associates cammon stock that we are offering to exchange for each share of
Sterling Software common stack will be reset fo he $35.55 divided by Che average
Computer Asseciates trading price. This reset is designed to provide you with a
number of Computer Associates shares having a value of 535.55 om the reset date,
based on the average Computer Assaciates trading price, for each cf your
Sterling Software shares.

The market value of the Computer Associates shares you receive in exchange
for each share cf Steriing Software might differ from their market value based
on the trading price at such time on the reset date, the date on which the offer
is consummated, the cate of the merger or the date you Teceive mir sharas in
exchange for your Sterling Software shares.

CASH OPTION. If the average Computer Associates tracing price is Jess than
$63.10, we have the option when we reset the exchange ratio co reduce it. by
paying some cash in substitute for Computer Associates shares. We sometimes

Source: CA, INC., S-4, February 22, 2000

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refer to this option as the “cash optien.” The maximum smount of cash for cach
Sterling Software share that we may substitute for Computer Associates shares ina
that case is the amount by which the average Computer Associates trading price
multiplied by the exchange ratio of 0.5634 falls short of $35.$5. If we chcose
to elect the cash option, the exchange ratio wili be reset to be the portion cf
$35.95 that we are net paying in cash, divided by the average Computer
Associates trading price.

TLLUSTRATIVE TABLE OF EXCHANGE RATIOS AND VALUE OF OFFER/MERSER
CONSIDERATION. The columns in the following table present:

~ illustrative values of Lhe avereue Computer Associates trading price
within a range of $60.00 to $85.60 per share,

the exchange ratio illustrating the number of Computer Associales cunuuun
shares that would be issued for one share of Sterling Software common
stock at each of the average Computer Associates treding prices oresented
in the table and

- tne illustrative values of the consideration that would be issued in
connection with the offer and the merger for one Sterling Software common
snare, whith illustrative values are determined by

30
multiplying each of the average Computer Associates trading prices

presented in the table by the corresponding exchange ratio and, in seme
cases, giving effect to an exercise of the cash option.

VALUE OF OFPER/MERGER

CONSIDERATION

AVERAGE COMPUTER ASSOCIATES TRADING PRICE EXCHANGE RATIO VALUE OF SHARES CASH TOTAL

$60.0001) orci eee eee eee eee eee 0.5925 $35.55 -~ $35.55
$O0.0012) 0 cee 0.5780 634,68 $0.87 935.55
$60,00L3). eee eee ee ee eee 0.5634 $33.80 $1.75 $35.55
SOZ.1LO. cee ee eee ee eens 0.5634 $35.55 nfa $35.55
$65.U0.... 0.0... 2. ee ee eee 0.5634 §36.62 nfa $36.62
$IO.00..... cee eee ee Severe erraes bares Q,5634 $39.44 n/a $39.44
$75.00... . ee ee eee 0.5634 $42.26 nfa $42.26
$77.12-....., as 0.5634 $43.45 n/a $43.45
$80.00...... rrr tee aeeee eens 0.5431 $43.45 n/a $43.45
SB5.00... 2. eee ee ee eee 0.5112 $43.45 n/a $43.45

(1} Assuming the exchange ratio resets without Computer Associates exercising
the cash option.

{2} Assuming Computer Associates elects to pay $0% of the maximum amount of cash
r pay
permitted under the cash option.

(3) Assuming Computcr Associates ciects to pay the maximum amount of cash
permitted under the cash option.

THE VALUES CF COMPUTER ASSOCIATES SHARES IN THE TABLE ABCVE AR= ILLUSTRATIVE
ONLY AKO DO NOT REPRESENT THE ACTUAL AMOUNTS PER STERLING SOFTWARE COMMON SHARE
THAT MIGUT DE REALTZED BY ANY STERLING SOFTWARE STOCKHOLDER CN OR AFTER
CONSUMMATION CF THE OFFER OR THE MERGER. THE AMOUNT ANY STERLING SOFTWARE
STCCKHOLDER MIGHT REALIZE UPON SALE IN THE MARKET OF THE COMEUTER ASSOCIATES
COMMON SHARES RECEIVED BY SUCH STOCKHOLDER IN THE CFTER OR THE MERGER WILL
DEPEND UPON THE MARKET PRICE PER SHARE Of COMPUTER ASSOCIATES COMMON SHARES AT
THE TIME OF SALE, WHITH WILL FLUCTUATE DEPENDING UPON ANY NUMBER OF REASONS,
INCLUDING THOSE SPECIFIC TO COMPUTER ASSCCIATES AND THOSE THAT INE LUENCE THE
TRADING PRICES OF EQUITY SECURITIES GENERALLY.

FLUCTUATIONS IN MARKET PRICE. The average Computer Associates trading price
used to reset the exchange ratio is based on an average calculated over a ten
trading day period priuor to Lhe reset dale end Cherefore might be different from
tne actual market value of a share of Computer Associates common stock on the
reset date. The market vaive based on the trading price at such tine of the
Computer Associates shares you receive in exchange for each share of Slecling
Software mignt actually be below $35.55 cr above $43.45. In eddition, from the
time the exchange ratic is reset, or from the date of the merger egreement if no
reset occurs, until the time you receive your Computer Assouiales shares LUlrcuygh
the offer or the merger, the market value based on the trading price at such
time of the consideraticn you will receive will rise and fali along with the
trading price of Computer Associates common shares.

MORE INFCRMATION ABOUT EXCHANGE RATIC. We will notify you by issuing a
press release announcing the final exchange ratio and filing that press release

with the SEC. The press release will state
now much cash, if any, we have elected te pay in partial consideration for your

Source: CA, INC., S-4, February 22, 2000

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Steriing Saftware shares under the cash oprion, if we exercise it. Sterling
Software stockhoiders can call our informetion agent, MacKenzie Partners, Inc.,
at any tima toll free at (800) 322-2885 to request information about the
exchange ratio and any reset of the exchange ratic, including, once determined,
the average Computer Associates trading price for the offer.

 

PREFERRED STOCK PURCHASE RIGHTS. Cur offer te acquire Sterling Software
commen stock is also en cffer to acquire Sterling Software preferred stock
purchase rights (Sterling Software rights), and, when

ual

we refer to the shares Gf Sterling Scftware commor. stock, we are also referrirg
te the associated Sterling Software rights, uniess we indicate otherwise. in
addition, all references to the Sterling Software rights include the bensfits to
holders of those rights pursuant to the Sterling Software rights agreement,
including the right to receive any sayment due upon zedemption of those rights.
The number of shares Computer Associates common stock and amount of cash, if we
elect to pay a portion of the consideration in cash, receivable by hoiders of
Sterling Software common stock in the ofter and the merger includes payment for
the associated Sterling Softwere rights, and under no circumstances will
additionai censideration be peid for the Sterling Software rights. Also, the
shares of commun sbock of Computer Assuciatus Lu be issued in the offer and Lhe
merger include tne associated Computer Associates preferred sieck purchase
rights. When we refer to shares of Computer Associates common stock, we are also
referring to these associated rights, unless we indicate olherwise.

TRANSFER CHARGES. If you tender your shares, you will not be obligatec to
pay any charges or expenses of the depositary. Excep: as set [forth in the
instruczcions to the letter.of transmittal, transfer taxes on the tender of
Sterling Softwar= common stock pursuant to the offer will be paid by us or on
ovr behalf. If you are the record owner of your shares and you tender your
shares in the offer, you will not have tc pay trokerage fees or incur similar
expenses. If ycv own your shares through a broker or other nominee, and your
broker exchanges the shares on your behalf, your broker may charge yo. a fee ‘for
doing s5. You should consult your broker or nominee to Getermine whether any
charges will apply.

INTEREST. We will not pay interest on any cash amount payable for Sterling
Sottware shares in the otfer or the merger regardless cf any delay in making
sich payment .

MERSER. We are making this otter in order te acquire control ot, and
ultimately the entire conmen equity interest in, Sterling Software. We intend,
as soon as possible after consummation of the offer, tc seek to have Steriing
Software and Silversmith Acquisition Corp. consummate the merger. At the
effective time of the merger, each share of Sterling Scftware comman steck,
except for shares held by Sterling Software, us of any cf our or Sterling
Software's subsidiaries, will be converted into the right to receive the same
number of Computer Associates shares {and same amount cf cash, if any) per
Sterling Software share ag is paid in the offer, subject to appraisal rights
that may be available under Delaware law. If we obtain sil of the shares of
Sterling Software pursuant te the offer and the merger, former stockholcers of
Sterling Software would owr. approximately 8% of the shzres of common stack of
Compyter Associates, based upon the number of ehares outstanding of Computer
Associates on February 7, 2000 and of Sterling Software on February 9, 2000, and
assuming that the exchange ratio is not reset.

CONDITIONS CF OFFER. Our obligation to exchange shares of Computer
Associates common stock for Sterling Software shares pursuant to the offer is
conditioned unon several conditions referred to below under “Conditions of the
Offer," including the minimum tender condition, the antitrust condition, the
registration statement effectiveness condition and other conditions that ave
discussed in that section.

STOCKIIOLDERS LIST. We have relied on Sterling Software's stockholders List
and security position listings to communicate witn you and to distribute the
offer to you. We may send this prospectus, related letter of transmittal and
ether relevant. materials to you anc to brokers, dealers, commercial canks, trust
companies and simitar persons whose names, cr the names of whose nominees,
appear on Sterling Software's stockholders list or, if applicable, who are
listed as participants in a clearing agency's security position listing,

TIMING OF THE OFFER

The offer is currentiy scheduled to expire at midnight, New York City time,
on Monday, Macel. 20, 2000.

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EXTENSION, TERMINATION AND AMENDMENT
Subjecu to Lhe Leos of the weryec ageecmenl, we expressly ceserve the
cight, in our sole discretion, at any time or from time to time, to extend the
period of time during which the offer remains open, and we caa do se by giving
ofall of written notice cf such exlension Lo the depesilaszy. If the offer: is
extended for any reason, we will make an announcement to that effect no later

than 9:00 A.M., New York City time, on the next business day after the
previously scheduled expiration date. Subject to the terms of the merger

Source: CA, INC., S-4, February 22, 2000

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Exhibit 2

to

Declaration of Luke A. McGrath

In Support of Intervenor Sam Wyly’s
Motion to Intervene And For Relief
from Protective Order

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DECLARATION OF SANJAY KUMAR

1. | My name is Sanjay Kumar. I am over eighteen years old and fully competent and
qualified in all respects to make this declaration. The facts set forth herein are true and correct
and, unless otherwise qualified, are within my personal knowledge.

2. With regard to facts stating the revenue figures for revenue recognized for certain
customer contracts and for CA’s earnings per share (“EPS”) estimates, at the time I had general
knowledge of the magnitude of the revenue involved in those contracts and the general EPS
estimated. The revenue figures and EPS estimates stated herein have been confirmed and
refined by review of supplemental information.

3. Tamcurrently incarcerated in Fairton, New Jersey.

A. Background

4, I was formerly the President, Chief Executive Officer and Chairman of the Board
of Computer Associates, now known as CA, Inc. (“CA” or the “Company”). Specifically, I was
employed by CA beginning in August 1987 when CA acquired my then employer UCCEL.
From April 1989 to December 1992, I was CA’s Senior Vice President for Planning. From
January 1993 to December 1994, I was CA’s Executive Vice President for Operations.
Effective January 1994, I] became CA’s President and Chief Operating Officer (‘COO”), as
well as a member of CA’s Board of Directors. In August 2000, I became CA’s Chief Executive
Officer (“CEO”) and relinquished the title of COO. In November 2002, I became the Chairman
of CA’s Board of Directors. On April 14, 2004, I stepped down as CA’s Chairman and CEO
and also resigned from CA’s Board of Directors.

5. As is more fully laid out in my plea allocution, in U.S. v. Kumar, 04 CR 846
E.D.N.Y., I have pled guilty to all counts of the indictment brought against me in that matter

(the “Indictment”). Attached hereto as Exhibit A is a true and correct copy of the court
1

710337_6

Page 9 of 84 Lxhibit 2
 

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transcript of my plea allocution. Also attached hereto as Exhibit B is a true and correct copy of
the Indictment.

6. The crimes alleged in the Indictment relate to obstruction of justice and an
accounting fraud at CA. The Indictment alleged, among other things, that CA executives
engaged in a practice now known as the 35-Day Month. The 35-Day Month, in reality, was a
practice in which CA’s fiscal quarters started and ended about five days late. Through this
practice, CA included within one quarter’s revenue the revenue associated with license
agreements finalized in the first few days of the subsequent quarter and did not include revenue
recognized in the present quarter's first five days.

7. By the time I first worked at CA in 1987, this practice was firmly entrenched at
the Company and was considered to be the way CA did business. Charles Wang (“Wang”),
who co-founded and ran CA from before that time, personally directed the implementation of
this practice in my presence. I came to understand from conversations with Wang and Peter
Schwartz (“Schwartz”), CA’s then CFO, that recognition of revenue was of critical importance
in order to meet Wall Street’s expectations for CA’s EPS. Wang told me on many occasions
that CA must meet these “consensus estimates” at all costs.

8. I know that CA agreed to a Deferred Prosecution Agreement and related exhibits
(“DPA”). The US Department of Justice and CA agreed to the DPA as a result of the
investigation by both the Securities Exchange Commission (“SEC”) and the US Department of
Justice (together, the “Government”) into the fraud at the Company. Attached hereto as Exhibit
C is a true and correct copy of the DPA.

B. My Communications With The CA Special Litigation Committee
9. My personal knowledge of the general facts averred herein was communicated to

CA’s Special Litigation Committee (the “SLC”’) in 2006. The members of the SLC,
2

710337 6

Page 10 of 84 Lixhibit 2
 

1 AGase:2:05-Cr-00587-JFW.. Document.587..-Filed 01/20/09....Page 14..0f-84... RPageID #6351: sc

themselves, interviewed me on many occasions in 2007. At each interview, copious notes were
taken on the information I provided.

10. During those interviews and subsequent communications, I supplied information
to the SLC regarding the knowledge possessed by members of the Board of the fraudulent
accounting practices that occurred at the Company. I told them, for example, that Lewis
Ranieri (“Ranieri”) and Alfonse D’Amato (“D’ Amato”) had knowledge of the late contract
issues and that this knowledge dated back to at least early calendar year 2003. I also informed
them that these Board members took steps to protect Wang and conceal the facts relating to
these accounting practices.

11. At page 347 of the report issued by the SLC (the “SLC Report”), the SLC asserts
that, “[t]he majority of the Board understood that [the settlement of the CA class action
litigation in 2003 (the “2003 Settlement”)] was final when they authorized it in August 2003.”
While the Board considered the economics of the settlement to be final, David Nachman
informed the Board in my presence regarding the economics of any settlement, the process
necessary to settle a class action lawsuit and that any settlement would not be final until
approved by the Court.

12. After October 2003, I specifically raised to the Board the question of whether the
2003 Settlement would go forward in light of the increased likelihood that information, which
called into question the financials of the Company, would eventually be made public. John
Savarese, in response, told the Board that any such information wouldn’t affect “the deal.” |
understood that CA would insist that plaintiffs’ counsel follow through on its intention to state,
in some form during the settlement process, that they were aware of the pending Government

investigations and that they would not object to the settlement.

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13. 1 further know that the Board of Directors, including, but not limited to, Ranieri,
was specifically concerned about the Settlement and Fairness Hearing scheduled for late 2003
(the “Fairness Hearing”). Ranieri told me to contact him as soon as I heard of the results of the
Faimess Hearing. Like many at the Company, all members of the Board understood the
potential settlement to be a major event, I further know that when I did contact Ranieri by
telephone and informed him that the Court had approved the 2003 Settlement, he expressed

relief that the Court approved the agreement.

Cc, Accounting At CA

14. I know the 35-Day Month practice was well known at CA and, in fact, almost
everyone who worked at the Company knew that this was how CA closed its quarters.

15. In addition, I often participated in helping close business at the end of the quarter
in order to meet CA’s revenue consensus estimates. CA executives sometimes referred to the
practice as the quarter-end cut-off practice because revenue was recognized after the end of the
month, or quarter-end since the quarter started and ended about five days late. I never heard
CA Executives use the phrase “35-Day Month”; I first heard that phrase when it was used by
the Government.

16. I know that in each of the four quarters of fiscal year 2000, CA reported revenue
associated with numerous license agreements that had been finalized after the quarter close in
the previous quarter and did not count revenue from the first few days of the quarter.

17. The first quarter of CA’s fiscal year 2000 included the period from April 1, 1999
to June 30, 1999 (the “First Quarter”). At around the time when the First Quarter ended on
June 30, 1999, Ira Zar (“Zar”), CA’s then-CFO, informed me that CA would likely not generate
sufficient revenue to meet the consensus estimates for the quarter. As usual, 1 communicated

this to Wang.

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18. In response, at Wang’s direction, around July 8, 1999, I traveled to Paris, France,
where I met with the Chief Information Officer of GIE Informatique AXA for AXA group
(“AXA”). During the meeting, AXA agreed to go through with a previously negotiated license
agreement by which AXA agreed to pay CA approximately $32 million. The written license
agreement, which I had personally signed, was sent to AXA before my meeting in Paris. Based
on this license agreement with AXA, CA improperly recognized as revenue in the First Quarter
approximately $19 million, which I understand was the value of the agreement CA calculated
pursuant to Generally Accepted Accounting Principles (the “GAAP Value”).

19. On July 20, 1999, CA filed with the SEC its quarterly report on Form 10-Q and
issued a related press release regarding that disclosure. In these public documents, CA reported
its quarterly financial results for the First Quarter that included revenue associated with license
agreements finalized after June 30, 1999. CA reported EPS of $0.49 exclusive of non-recurring
charges.

20. The 35-Day Month was so ingrained in the CA’s culture, that it was normal
procedure to close business beyond the last day of the month during the five day period
afterward sometimes known as the “flash period.” However, if we could not close enough
business to meet Wall Street consensus estimates, then myself and or Ira Zar would inform
Charles Wang that we had failed or were unlikely to meet the consensus estimates and that we
needed to extend the close of the quarter beyond the five day period. In each and every
instance, when that circumstance occurred, Wang told us to keep CA’s books “open,” beyond
the five days after the end of the fiscal quarter, often stating, “failure is not an option.” At this
particular time, during the October 1999 flash period, despite our efforts, Zar informed me that

CA had not generated sufficient revenue to meet the consensus estimates of $0.59 per share.

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21. We informed Wang and he directed us to keep CA’s books open beyond the usual
five day period. Thereafter, our senior regional sales managers attempted to close additional
business.

22. Previously, on or about October 4, 1999, CA finalized an agreement by which
First Data Resources agreed to pay CA approximately $176 million. As was CA’s practice, the
written license agreement was dated to appear as though the agreement had been finalized and
signed on September 30, 1999. Based on this license agreement with First Data, CA recognized
as revenue in the Second Quarter approximately $97 million, which was the GAAP Value of
the agreement.

23. Similarly, on or about October 6, 1999, shortly after Wang spoke to CSC’s
Chairman and CEO, CA entered into a license agreement by which CSC, a CA customer,
agreed to pay CA approximately $102 million. Pursuant to CA’s practice, the written license
agreement was made to appear as though the agreement had been finalized and signed on
September 30, 1999. Based on the license agreement with CSC, CA recognized as revenue in
the Second Quarter approximately $65 million, which was the GAAP Value of the agreement.

24. On or about October 19, 1999, CA filed with the SEC its quarterly report on Form
10-Q and issued a related press release. In these public documents, CA reported its quarterly
financial results for the Second Quarter that included revenue associated with license
agreements finalized after September 30, 1999 and that did not include revenue from contracts
closed in the first few days of July. In its filings and statements, CA reported EPS of $0.60
exclusive of non-recurring charges. |

25. The third quarter of CA’s fiscal year 2000 included the period from October 1,

1999 to December 31, 1999 (the “Third Quarter”). Around the end of the flash period after the

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Third Quarter ended on December 31, 1999, Zar informed me that CA had not generated
sufficient revenue to meet the consensus estimates.

26. As the Third Quarter came to a close, I specifically informed Wang of our
progress toward meeting our Wall Street consensus estimates. Wang was concemed that this
quarter would present difficulties because of the change to the new millennium commonly
known as “Y2K issues.” Wang did not take his usual year end vacation at this time and stayed
in New York and monitored our progress. I informed Wang that we would not meet the
consensus estimates by the end of the flash period. In response, Wang instructed us to keep the
quarter open until we could close enough business to meet the consensus estimates.

27. On January 6, 2000, a senior sales manager informed me that she had completed
negotiating a license agreement by which a CA customer, EDS, agreed to pay CA
approximately $300 million. 1 was pleased we closed the deal and informed Wang that day that
we were that much closer to achieving our “number” for the quarter, ending December 31,
1999. The written license agreement, which I had personally signed, had an effective date of
December 31, 1999, but did not bear an execution date. Due in part to this license agreement
with EDS, CA recognized as revenue in the Third Quarter approximately $180 million, which
was the GAAP Value of the agreement.

28. On or about January 26, 2000, CA filed with the SEC its quarterly report on Form
10-Q and issued a related press release. In these public documents, CA reported revenue for the
Third Quarter that included revenue associated with license agreements finalized after
December 31, 1999 but did not include revenue from agreements closed in the first few days of

October. CA reported EPS of $0.91 exclusive of non-recurring charges.

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29. The fourth quarter of CA’s fiscal year 2000 included the period from January 1,

2000 to March 31, 2000 (the “Fourth Quarter”). Around the end of March 2000, Zar informed
me and others that CA had not generated sufficient revenue to meet the consensus estimates for
the quarter ending March 31, 2000.

30. At this time, CA had scheduled its annual sales “kick-off” events earlier than
usual, and sales people were being taken out of their territories to attend the events. Zar
advised me that achieving the consensus estimates was going to be “tight.” When we informed
Wang that we did not think we could make our “number” in light of the sales events, Wang was
upset that our sales people were not in their offices when we were so close to missing our
numbers. Wang asked whether we had enough deals “in the pipeline” — which I understood to
mean he wanted to know if we had enough contracts pending, which, if finalized, would
generate enough revenue to meet our consensus estimates. We responded, “yes,” we did. After
he expressed his displeasure with the state of affairs, Wang instructed us to “keep going,” since
“pre-announcing [that we failed to generate enough business to meet our consensus estimates]
is not an option,” and instructed us to keep CA’s books “open” until we had closed enough
business to meet the consensus estimates.

31. On or about April 7, 2000, a senior CA sales executive, finalized a license
agreement by which a CA customer, Cellco Partnership (d/b/a Verizon Wireless) (“Cellco”),
agreed to pay CA approximately $16 million.

32. Previously, on or about April 6, 2000, at approximately 11:53 a.m., this sales
executive sent an e-mail relating to the negotiations with Cellco, which read, in part: “If we
could get someone to ask them to ‘do us a favor’ and sign the contract, leaving the date block

blank (they technically can’t backdate the signature block, even though the contract says an

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effective date of 3/31/00 . . the new company wasn’t technically formed until 4/1/00). I'll take
care of fixing any mistakes that they inadvertently leave off the fax contract.”

33. Based on this license agreement with Cellco, CA recognized as revenue in the
Fourth Quarter approximately $13 million, which was the GAAP Value of the agreement.

34. In the March quarter, I understood that a CA sales executive was trying to finalize
a license agreement by which a CA customer, Charles Schwab, agreed to pay CA
approximately $30 million. I understood that the written license agreement was signed in Apmil
2000, but backdated to make it appear as though the agreement had been finalized and signed
on March 31, 2000. Based on this license agreement with Charles Schwab, CA recognized as
revenue in the Fourth Quarter approximately $16 million, which was the GAAP Value of the
agreement.

35. Onor about May 15, 2000, CA filed with the SEC its annual report on Form 10-K
and issued a related press release. In these public documents, CA reported revenue for the
Fourth Quarter that included revenue associated with license agreements finalized after March
31, 2000 but not revenue for contracts closed in the first few days of January. CA reported EPS
of $1.13 exclusive of non-recurring charges.

D. CA Purchases Sterling Software While Reporting That It Is Meeting Its Consensus
Estimates

36. During the time period discussed above, between the end of 1999 and March
2000, I was involved, as President and COO of CA, in the negotiation of the purchase by CA of
Sterling Software, Inc. (“Sterling”), a company that had been co-founded by Sam Wyly
(“Wyly”).. Wang, a few senior CA executives, and I directed the negotiations leading to the

final agreement for that purchase, which was consummated in March 2000.

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37. The details of the negotiations and purchase of Sterling were disclosed by CA in a
Form S-4 and publicly filed with the SEC on February 22, 2000. Attached hereto as Exhibit D
is a true and correct copy of the relevant pages of the S-4.

38. In January 2000, I met with representatives of Morgan Stanley during which they
advised me that Sterling was for sale. After this meeting, I called Wyly and discussed with him
the possibility of a business combination between CA and Sterling.

39. Shortly thereafter, on January 18, 2000, I met with Wyly in Dallas to discuss the
potential business combination. As disclosed in the S-4, at that meeting I discussed with Wyly
“valuation issues” regarding the potential business combination.

40. On January 23, 2000, I participated in a meeting with Zar, Charles McWade, and
representatives from Morgan Stanley and Sterling’s Board of Directors. At this meeting and in
subsequent meetings with Sterling Williams (“Williams”), the CEO and a co-founder of
Sterling Software, various aspects of the combination of Sterling and CA were discussed.

41. On February 6, 2000, I informed Williams that CA was interested in pursuing a
business combination with Sterling at a valuation of between $38.25 and $39.25 per share for
each share of Sterling common stock. On February 7 and 8, 2000, I continued my discussions
with Williams and informed him that CA would increase its valuation of Sterling stock to
$39.50 per share. Because CA was using CA stock as the “currency” of the transaction, CA
calculated its valuation of Sterling in terms of CA stock. Ultimately, it was agreed that the
merger would go forward wherein each Sterling share would be exchanged for 0.5634 shares of
CA. That means that in dollar terms, each Sterling share was worth $32.19 compared to CA’s

closing price of $57.13 on March 30, 2000 — the date of the merger.

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42. As is now common knowledge, at the time before, during, and for a limited time
after the negotiation of the Sterling merger, CA had a practice of opening and closing its
quarters generally five days late.

43. On February 14, 2000, before the opening of the New York Stock Exchange, CA
publicly announced its agreement to purchase Sterling.

44. As part of the agreement that CA negotiated, Wyly and other Sterling
shareholders would exchange their Sterling stock and stock options for CA stock and stock
options.

45. The Sterling purchase was consummated on March 30, 2000, the next to last day
of CA’s Fourth Quarter of fiscal year 2000. At around the end of the next quarter, around July
2 or July 3 2000, Wang, Zar, the Board, other CA executives and I participated in making the
decision to disclose that CA would not meet its earning estimates for that First Quarter of fiscal
year 2001. CA made the disclosure in a press release on or about July 3, 2000. By the close of
business on July 5" CA’s stock lost more than 40% of its value.

46. I further know, as discussed above, that at the time before and during the
negotiation of the Sterling merger, CA reported that it had met Wall Street consensus estimates
for CA’s Third Quarter ending December 31, 1999 and Fourth Quarter 2000 ending March 30,
2000. CA met those estimates while operating under the “35-Day Month” practice.

E. CA Defends Against Wyly’s Proxy Contests

47. In June 2001, I received notice that Wyly and another CA shareholder, Ranger
Governance, Ltd. (“‘Ranger’’), had initiated a shareholder proxy contest seeking to replace me
and all of the other CA Board members. Subsequently, Wyly and Ranger sought to replace
Wang and three other Board members. In August of 2001, I attended the CA shareholder

meeting where CA’s shareholders voted to retain the entire Board, defeating the proxy bid.
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48. In response to Wyly’s proxy effort, CA’s Board had engaged the law firm of
Wachtell, Lipton, Rosen & Katz (“WLRK”). WLRK, on behalf of the Company, brought a suit
against Wyly and Ranger. Thereafter, I was named in an individual capacity in a third-party
complaint filed by Wyly and Ranger. Wyly and Ranger initiated a second proxy fight in June
2002. We settled the pending proxy litigation, in July 2002. With Wang’s and the Board’s
blessing, CA agreed to a settlement with Wyly to resolve the second proxy contest.

49. During this time, I publicly defended CA’s New Business Model and stayed away
from discussing the historical accounting practices at CA because I did not want the issue of the
35-Day Month to come up, even though I had ended the 35-Day Month practice in October
2000 after I became the CEO.

50. When the New Business Model was adopted in October 2000, many on the
Board, including Artzt, Ranieri, D’Amato and Willem de Vogel (“de Vogel”), knew of our
practice of booking revenue for a few days past quarter end.

51. In early 2002, Stephen Perkins of Ranger visited CA’s Islandia offices, and
shortly after the visit, Ranger wrote to the Board asking for a change in CA’s top management.
Attached hereto as Exhibit E is a true and correct copy of that letter.

52. The Board discussed how to respond to the Ranger letter.

53. It was suggested by Wang and WLRK that CA’s “Independent Directors” ought
to respond to Ranger’s letter. Thus, in response to Ranger’s letter, on April 11, 2002, CA’s
“Independent Directors” wrote to Ranger stating that Ranger’s “attacks on CA’s accounting
practices are unjustified. We have reviewed CA’s accounting practices and have satisfied

ourselves—as has KPMG, the Company’s auditors—that CA’s accounting is appropriate and

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transparent.” This statement, which CA published in a subsequent SEC filing, I believe related
solely to the New Business Model.

54. The Independent Directors did not, themselves, each review CA’s accounting.
Instead, Walter P. Schuetze (“Schuetze”) and a few other Board members reviewed the
accounting methodology relating to the New Business Model. Based upon my knowledge, they
did not investigate CA’s past accounting.

55. Some of the Directors knew that some of CA’s historical accounting and public
disclosures may not have been fully accurate. CA’s disclosure in its 10-K for fiscal year 2001
reported anew CA’s past financials for fiscal years 1998, 1999 and 2000 because of a revenue
reclassification issue. In this disclosure, CA recalculated its past financials according to the
New Business Model’s methodology to provide a means of comparison to CA’s then current
disclosures, which, for the first time, were reported under the New Business Model. To my
knowledge, CA did not correct these numbers to account for any effect of the 35-Day Month
practice before applying the New Business Model methodology and reporting these numbers in
its 10-K. |

F. The Class Actions And Government Investigation.

56. In July and August of 1998, numerous class action and derivative lawsuits were
filed against me, CA and certain of its executives, officers and directors (the directors, “Board
Members”). These lawsuits alleged violations of securities laws and accounting improprieties
at CA.

57. In 2002 and 2003, additional class action and derivative lawsuits were filed
against me, CA and others (together the class and derivative actions filed in 1998, 2002 and

2003, the “Actions”).

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58. Similarly, starting in 2002, the United States Attorney’s Office for the Eastern
District of New York and the Securities Exchange Commission began an investigation of CA.

59. I maintained documents related to my work at CA on my computer and in other
locations in my office at CA. I remember that I was asked to collect documents relating to
certain topics at the time of the Actions. At the time, I reviewed my files in and around my
desk in my office and collected documents. No one else reviewed my office files for
documents. I also printed out documents from my computer and put those printouts together
with copies of other documents from my office files in a glossy bright yellow file folder. A few
weeks later, CA’s general counsel, Steven Woghin, picked up the folder from my office. Prior
to sometime in 2003, other than the documents I provided in the yellow file folder, | was not
personally asked to provide any other documents to defense counsel or to CA’s legal
department in connection with the Actions.

60. Later, in 2003, I was asked for documents with respect to certain transactions
related to specific customers and “quarter end" issues. All of the information that I turned over
in response to these requests came from documents in my possession or the CA corporate files.

G. CA Board Members With Knowledge Of CA’s Improper Accounting Practices.

61. As discussed below, I know that many of CA’s Board Members were aware, to

varying degrees, of the 35-Day Month practice at CA.

1. Willem de Vogel

62. I know that de Vogel was aware of the practice that has become known as the 35-
Day Month at CA during his tenure on the CA Board. For example, based on my conversations
with de Vogel and other CA Board Members and executives, I know de Vogel would call up
CA executives three to five days after the quarter’s end to inquire, “how are we doing?” or

“how do the numbers look?” to determine how CA was progressing in the final days of the
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“quarter” (as CA defined its quarters). De Vogel would call at the end of the flash period

because it was common knowledge that we often finalized contracts through the fifth day after
the end of the month, instead of the last calendar day of the month.

63. I recall that de Vogel twice served as a member of CA’s Board, the second tenure
beginning in 1991, and continuing until August, 2002, during which time de Vogel served as a
member of the Audit Committee. When he was a Board Member, de Vogel understood CA’s
accounting practices, including the 35-Day Month. De Vogel would often discuss CA’s
financials at Board meetings and elsewhere in my presence. [ often heard de Vogel discussing
accounting issues with CA’s Chief Financial Officer, Schwartz, and later, Schwartz’s successor,
Zar.

2. Lewis Ranieri

64. [know Ranieri was aware of the accounting practice known as the 35-Day Month.
I know this because Ranieri and I discussed this issue during the Government investigation. In
addition, in April 2003, I told Ranieri that a former joint venture partner was attempting to
blackmail CA. The former partner was involved in transactions with EMS, a CA customer. |
told Ranieri about the fact that the former partner had threatened to go to the media about the
EMS transactions. Ranieri advised me that I should put the past “behind me.” I understood
Ranieri to mean that I should fix the problem at all costs.

65. Earlier, in 2001, D’Amato recommended to me that the Board should invite
Ranieri to become a member. At that time, I did not know who Ranieri was but around the time
he joined the Board on June 26, 2001, I met him for the very first time in my capacity as CEO.
Later,-at my suggestion, the Board appointed Ranieri as Lead Independent Director, a position

he held from May 14, 2002 until April 20, 2004. Ranieri also served on the Audit Committee

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from January 21, 2003, until April 20, 2004. When I stepped down as Chairman of the CA

Board, Ranieri replaced me.

66. [also know Ranieri was not totally forthcoming in disclosing what he and the
Board knew or learned of the 35-Day Month practice. I know this because Ranieri told me that
in order to put CA’s past behind the Company, it would be best to keep certain Board members
in the dark about some aspects of the 35-Day Month practice. Specifically, Ranieri instructed
me not to divulge the full extent of the 35-Day Month practice to Schuetze, the Chair of the
Audit Committee. I know that Ranieri also instructed another CA executive not to divulge the
full extent of the 35-Day Month practice to Schuetze.

67. Ranieri often joked with me by saying that “Schuetze would have a heart attack”
if he knew about the 35-Day Month issue. As discussed below, at that time, Schuetze did not
know the full extent of the problems with CA’s 35-Day Month practice. Ranieri specifically
instructed me that Schuetze, a former SEC accountant, would “turn on us” if he found out about
CA’s historical 35-Day Month issue.

68. Ranieri was involved in the drafting of the CA press release, issued on October 8,
2003 (the “October 8 Press Release”). I know this because Ranieri, the lawyers, some Board
members, CA’s Public Relations Department, and I worked together to finalize the October 8
Press Release. Attached hereto as Exhibit F is a true and correct copy of the October 8 Press
Release.

69. I received the first draft of the October 8 Press Release sometime after Ranieri
and the Audit Committee instructed me to ask Zar for his resignation. After the lawyers

circulated the draft, CA’s Public Relations Chief called me to tell me that, in his opinion, the

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draft could not be published in its then current form because it would cause confusion if it did
not clearly indicate that there would be no change in leadership of CA after Zar resigned.

70. The Public Relations Chief asked me if I was to remain in control of the
Company. I stated “yes” and told him to confirm that fact with Ranieri. Ranieri told both the
Public Relations person and myself, that, yes, ] would remain in charge of CA. I then asked
the Public Relations Department to work with Ranieri and the lawyers to edit the October 8
Press Release. In addition to Schuetze’s portion of the draft release, a new section was added
which stated that CA’s Corporate Governance was the “gold standard” and_ that,
notwithstanding the disclosure of what appeared to be accounting issues at the Company, CA’s
Board was independent and that its “decisive action” resulted in the discovery of the disclosed
accounting issues.

71. knew that some Board members and I knew that the release was not complete in
its disclosure or the 35-Day Month practice.

72. In fact, Ranieri told me that he regretted having to “spill the blood” of Zar but that
it was necessary in order to protect the rest of the CA “family.”

3. Alfonse D’Amato

73. know D’Amato was aware of the practice at CA of starting and ending the
quarters late. He was also aware of Wang’s participation in those practices. In fact, D’Amato
told me on more than one occasion that it was best not to discuss Wang’s involvement. Wang
told me that he had asked D’ Amato to help resolve the Government investigations.

74, In connection with D’Amato’s attempt to bring about a resolution of the
Government investigations, D’Amato asked me to provide him with a brief written account of

why CA was a good company and should not be indicted. When he made this request,

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D’Amato warned me, “Don’t piss on the past.” The phrase “Don’t piss on the past” was
D’Amato’s standard phrase for instructing me not to implicate Wang.

75. Earlier, in 1999, Wang told me that he had asked D’ Amato to be on CA’s Board.

76. 1 know that D’Amato and Wang were friends. Sometime in late 2005 or early
2006, I was surprised to learn that, for several years during D’Amato’s tenure on the Board and
Audit Committee, D’ Amato received payments directed by Wang and paid through The Smile
Train, a charitable organization, to D’Amato’s consulting firm, Park Strategies LLP.

77. In 1998 Wang told me and others that he had engaged D’ Amato as a consultant
for CA before D’Amato became a Board member. Once D’ Amato joined CA’s Board in 1999,
Schwartz told me that CA could not continue to pay consulting fees to D’Amato. When I
informed Wang what Schwartz had said, Wang stated that he would “take care of it.” J initially
assumed Wang meant that he would tell D’Amato that CA had to discontinue paying
D’Amato’s fees. After I understood in 2005 or 2006 about the Smile Train payments discussed
above, I came to understand that Wang really meant at the time that he would “take care of it”
by paying D’ Amato indirectly through a charity he co-founded, The Smile Train.

78. came to understand this as a result of a communication I received in late 2005 or
early 2006 from an anonymous source. This source suggested I review public records of
companies controlled by or influenced by Wang. Eventually, I came upon the public records of
Smile Train and, according to my understanding of papers filed by Smile Train with the Internal
Revenue Service, it appears that the charity paid D’Amato approximately $390,000 from 1999
through 2003. Attached hereto as Exhibit G are true and correct copies of Internal Revenue

Service filings demonstrating payments from Smile Train to Park Strategies, LLP.

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79. also know that D’Amato and Ranieri were extremely close, so close in fact that
Ranieri allowed D’Amato to use office space in Ranieri’s offices. D’Amato told me he was
close to Ranieri when D’Amato recommended Ranieri to the CA Board. In addition, when I
was CEO, I went to Ranieri’s office and met with Ranieri. While there, I had to take a phone
call. Ranieri’s secretary instructed me to use “Al’s office” and directed me to an office close to
Ranieri’s office in which D’ Amato worked.

80. I also know that D’Amato was very close to Shirley Strum Kenny (“Kenny”).

4. Russell Artzt

81. I know Artzt, a co-founder of CA with Wang in 1976 and a member of the CA
Board from 1980 until 2005, knew about the fraud at the Company and actively participated in
concealing CA’s improper accounting practices from the public, plaintiffs in the Actions, the
Government and other Board Members. In reality every Senior Executive and most every
employee in sales and finance knew of this 35-Day Month practice.

82. I know this because, over the course of numerous conversations, Artzt and |
discussed the Government investigation and the 35-Day Month practice. In one conversation,
Artzt told me that he questioned whether I should implicate Wang when asked by the
Government about CA’s accounting practices. By the end of the conversation, however, Artzt
thought it was best not to disclose the 35-Day Month practice or Wang’s involvement. Artzt
told me to remain silent because he thought that D’Amato would “get this fixed.”

83. From early in my career at CA, I understood that Artzt was well aware of the 35-
Day Month. I know this because Artzt often assisted CA’s Sales teams during post-quarter
negotiations and played an instrumental role in persuading a number of CA customers to sign
license agreements after the close of the quarter in which the revenue associated with the

agreement would be recognized. I know, based on my conversations with Artzt, that Artzt
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knew that CA would recognize the revenue associated with these post-quarter license
agreements in the previous quarter in order to meet CA’s Wall Street estimates.

84. I told the SLC of Artzt’s involvement with the 35-Day Month practice and how
Ranieri went out of his way to protect Artzt.

5. Charles Wang

85. Wang was not only aware of the accounting improprieties such as the 35-Day
Month, he also actively participated in concealing those improper accounting practices from the
public, plaintiffs in the Actions, the Government and certain Board Members. Wang knew that
CA’s quarters were “open” for five days into the next month per his directive and he sometimes
instructed CA to keep CA’s books “open” after the usual “five days” to execute license
agreements and to recognize revenue from those agreements in the previously ended quarters.

86. Wang and I were very close personally and professionally. We discussed
virtually every aspect of the business weekly, if not daily. The relationship with Wang went
downhill by the end of 2000 because Wang did not like the New Business Model, its success or
the accolades that I received for putting it into place, and was regretting giving up the CEO
title. It culminated in Wang firing me over breakfast around late November 2001. He told me
the Board backed him and supported his decision to fire me. I agreed to leave CA and hand the
CEO job back to Wang. A few days later, I learned that Wang had lied to me and the Board
knew nothing about any of this. Soon after, an emergency Board Meeting was convened, and
in the end I agreed to stay as CEO at the Board’s request. Our relationship improved for a time,
but by the late summer of 2002 it got bad again. Wang resigned from the Board in November,
2002.

87. 1 know that Wang participated in or directed two “wash transactions,” which had

no economic substance: the Consortio and EMS transactions. The revenue associated with
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these transactions was recognized in the third and fourth quarters of fiscal year 2000. Attached
hereto as Exhibits H and I, are true and correct copies of the Government’s Memorandum In
Aid of Sentencing and notes from an FBI interview with the founder of Consortio submitted as
evidence by the Government during my sentencing.

88. Given the importance of “making our numbers” during that time period, I kept
Wang closely apprised of CA’s dealings with Consortio. As a matter of fact, it was Wang who
first fostered a relationship with Ray Cheng, the CEO of Consortio, at the executive level from
CA. The license agreement with Consortio had a face value of approximately $44.5 million
dollars. Based on the license agreement with Consortio, CA recognized approximately $34
million dollars, the GAAP value of the transaction.

89. At my sentencing hearing the Government identified the EMS transaction as an
improper “wash transaction” with no economic substance. Attached hereto as Exhibit J are true
and correct copies of email strings discussing the EMS transactions submitted as evidence by
the Government during my sentencing.

90. In calendar year 2002, former EMS employees involved in these transactions
contacted CA and attempted to blackmail CA. In essence, these former EMS employees
threatened to disclose the transaction between CA and EMS to the news media, entered into
purposefully to create an appearance of economic substance when in fact, there was no
economic substance to the transaction. Because the original transactions were supervised by
Wang, | sought Wang’s guidance as to our response to the threats of blackmail. Attached
hereto as Exhibit K is a true and correct copy of an email in which Wang, via his executive
assistant, directed me not to do anything unti] I received further instruction from him.

Ultimately, Wang suggested that we "resolve" the matter directly with EMS's CEO.

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91. Wang participated in obstructing justice during the Government investigations. I

know that D’Amato and others gave Wang updates on the Government investigations. In
discussions with myself and other CA executives, Wang insisted that CA stonewall the
Government, explaining that, if CA did so, the investigation would eventually “go away.”
Pursuant to these orders, I know that Wang’s loyalists, including myself, obstructed the
Government investigation, by delaying the disclosure of information, and withheld from the
Government information that would have disclosed the improper accounting practices at CA. I
also understood from CA’s lawyers that like me, Wang was interviewed by the Government.
He was also interviewed by the Audit Committee’s lawyers. I understood from CA's lawyers
that Wang denied knowledge of or any involvement in the 35 Day Month practice to both the
Government and to CA's lawyers.

H. CA’s Response To The Government Investigations

92. I know that CA’s response to the Government investigations was driven by a
desire to disclose just enough to reach a settlement. D’Amato and Ranieri each told me that
they were pushing to obtain commitments from the Government regarding an acceptable way to
resolve the investigation. They each acknowledged to me on many occasions that the
Government’s investigation, if allowed to continue without a settlement, would potentially
destroy CA.

93. Ata Board meeting on July 2, 2003, WLRK reported to me and the rest of the
Board that the Government had demanded that CA conduct an independent internal
investigation. I agreed that an investigation was needed, thinking that such an investigation
might expose the historical problems at the Company without me having to point the finger to
the past, but would not result in any criminal proceedings. Accordingly, I recommended and

the Board authorized the Audit Committee to conduct an “independent” internal investigation.
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As discussed above, I knew that two of the three members of the Audit Committee, Ranieri and
D’Amato, were already generally aware of the Company’s 35-Day Month issue and were
committed to assisting the Company in minimizing the damage to the Company.

94. J was nominally involved in the Audit Committee’s decision to hire Robert J.
Giuffra, Jr. (“Giuffra”) of Sullivan & Cromwell (“S&C”) to conduct the “independent internal
investigation.” Schuetze, who lived in Texas, asked me to interview law firms, in New York, to
assist the Audit Committee and give Schuetze a recommendation. However, within hours,
D’ Amato called me and said, “I got your man.”

95. D’Amato made it clear that I should recommend Giuffra. I knew of Giuffra
through D’ Amato because I was told that he represented D’ Amato’s brother, Armand, in a case
in which Armand’s criminal conviction was ultimately overturned. D’ Amato told me on many
occasions that after Giuffra helped Armand, they were like family. D’Amato told me that,
“Bob will call you.”

96. I have personal knowledge that Giuffra undertook conducting CA’s defense
against the Government investigation to minimize the investigation’s depth and any damage
that might be done to D’Amato, Ranieri and Wang. At one point, Giuffra told me that he
understood “what the game is” and that he would do whatever he could to arrange a settlement
with the Government.

97. From the first of my conversations with Giuffra, he acted like he already had the
job. Regardless, I felt it best to make Giuffra go through the motions. When he arrived at our
offices, 1 spoke with him for approximately thirty minutes. After thirty minutes, J asked CA’s

general counsel, Woghin, to continue and finish the interview with Giuftra.

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98. Almost immediately, the lawyers from WLRK complained to me and others that
they were upset about the process in which they appeared to be replaced by S&C. Indeed, I
watched S&C immediately begin taking the reins of CA’s defense away from WLRK. As a
result, I witnessed a tremendous amount of infighting between the two law firms.

99. By this time, Marty Lipton and John Savarese (“Savarese”) of WLRK had
informed me and others, including the Board, that they knew there were some “late” contracts
for which revenue had been included in earnings reports possibly incorrectly. Nonetheless,
WLRK told me that the SEC would likely treat it as a “books and records” issue.

L The Misleading October 8 Press Release

100. The October 8 Press Release was issued after the Audit Committee interviewed
Zar. Schuetze realized that the 35-Day Month practice was more extensive than he was led to
believe. The Board and the lawyers wanted to issue a release but the end result was that the
release tried to paint a picture of the problem that could still allow CA to settle with the
Government.

101. I know that the October 8 Press Release minimized the magnitude of the 35-Day
Month practice at CA and the extent of the involvement by sales, finance and senior
management employees, as well as the knowledge by some CA Board Members of those
practices at the Company. I know that D’ Amato and Ranieri, as well as Wang, Artzt and others
at this time, knew that the 35-Day Month practice was part of CA's past and--unless the revenue
from contracts excluded from the beginning of the quarter (and included in the previous
quarter) was approximately the same amount as the revenue included after the close of that
quarter from contracts closed after the quarter end—resulted in CA reporting incorrect revenue

figures meeting Wall Street's consensus estimates.

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102. I know that the reasons for terminating Zar and other CA employees stated in
October 8 Press Release were not complete. I know that the Press Release reported that Zar,
CA’s CFO, was not considered to have actively participated in any wrongdoing but was merely
responsible for overseeing CA’s financial reporting during the relevant period. IJ know this was
false because it was clear by that time that Zar had participated in the improper accounting at
the Company.

103. For example, I know that the Audit Committee offered to interview Zar and
provide a summary of the interview to the Government. After the interview, Ranieri, D’ Amato
and Giuffra told me that Schuetze had been asking probing questions for which Zar had no
answer but that Ranieri and D’Amato had tried on numerous occasions to ask questions that
might put Zar in a better light. Ultimately, Ranieri told me that Zar provided inconsistent
explanations or no explanations at all for some of the issues raised by Schuetze. As a result,
Schuetze was pushing the Audit Committee to fire him. Further, Ranieri told me he felt bad for
having to “turn” on Zar. Ranieri told me that Zar had “done the right thing” and as a result,
Ranieri would try to help Zar get a new job and ensure that CA would give him a severance
package. Accordingly, I know that, as of October 3, 2003, CA’s lawyers, management and
Board Members knew that Zar, CA’s CFO, had participated in the fraud.

104. As discussed above, I know that during the drafting of the Press Release, WLRK,
S&C and the Audit Committee already knew of many late contracts, some of which were
significant in terms of size, and that CA’s CFO was implicated in the fraud.

J. The October 20 Board Dinner

105. On October 20, 2003, a regularly scheduled dinner of the Board and senior

management took place at the 21 Club in New. York City in a private room upstairs.. I attended

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the dinner with the then-current Board Members, including, among others, Ranieri and
D’ Amato.

106. Before the dinner, I stood with Ranieri and others (including D’Amato and
Richards) by the bar, that was setup in the room, discussing, among other things, the status of
the Government investigation. Ranieri said, as he had to me time and again, that he had been
through Government investigations before and, in his opinion, CA had to “play hard-ball” with
the Government. From past conversations, I know, and it was obvious to all that by “hard-
ball,” Ranieri meant for us to stonewall in order to force the Government to conclude its
investigation and settle with CA.

107. As the discussion continued, Richards, CA’s Head of Worldwide Sales, walked
outside of the room into the restaurant’s hallway with Ranieri. I caught up with them after and
joined in a discussion that was taking place in the hallway outside the room—and outside of the
earshot of the others (the “Discussion”).

108. In the Discussion, Richards raised the following thoughts to Ranieri in my
presence. Richards told Ranieri that:

a) he was concerned because he was required to meet with the SEC in a
matter of days;

b) he would have to rely on his Fifth Amendment Right against self-
incrimination and not speak to the SEC; and

c) if he spoke to the SEC and told the truth about Wang and the historical 35-
Day Month practice, the SEC would discover the full extent of the 35-Day
Month practice.

109. Ranieri was clearly concerned at the prospect of Richards opening up to the SEC

and ruining chances of a prompt settlement with the SEC. Ranieri told Richards that:

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a) as long as he was in the Company, Ranieri would protect him;

b) if Richards took the “Fifth,” because Richards was an “executive officer,”
the Board would be forced to fire him; and

c) if Richards went into the interview and the SEC reported back to the Audit

Committee that Richards had participated in the 35-Day Month practice,
the Board would be forced to fire him.

110. In sum, Ranieri presented Richards with only two options—go into the SEC
interview and not discuss the 35-Day Month or, if asked directly about the 35-Day Month, lie.
In fact, when Richards asked Ranieri, in substance, “what am I supposed to do, tell them
Charles started all this and that this was the way it was when I got here?” Ranieri answered
him directly that he should not delve into the past or Wang because doing so would make it
impossible to “end this thing.” Ranieri told Richards not to worry because he and D’ Amato
would “make this thing go away”, if everyone “stuck together.”

111. I have no doubt that Richards had the same understanding of Ranieri’s
instructions as I had. Richards has since pled guilty to, among other things, obstruction of
justice and perjury charges based upon his testimony to the SEC.

K. Conclusion

112. Before August 2007, I had not met with or discussed the matters contained herein
with lawyers at Bickel & Brewer.

113. In addition, due to the constraints of my incarceration, I have not been able to
meet with lawyers for Bickel & Brewer for longer than three hours at a time every month or so.
AS a result, we were not able to finalize this declaration before August 2008.

114. I declare under penalty of perjury that the foregoing is true and correct.

IN
Executed on August X14 2008

   

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Exhibit 3

to

Declaration of Luke A. McGrath

In Support of Intervenor Sam Wyly’s
Motion to Intervene And For Relief
from Protective Order

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA
- against - Cr. No. 04-837 (ILG)

‘COMPUTER ASSOCIATES
INTERNATIONAL, INC.,

Defendant.

DEFE D PROSE NAG

The defendant COMPUTER ASSOCIATES INTERNATIONAL, INC.
(“CA”), by its undersigned attomeys, pursuant to authority granted by its Board of
Directors in the form of a Board Resolution (a copy of which is attached hereto as Exhibit
A), and the United States Attorney's Office for the Eastem District of New York (the
“Office”), hereby enter into this Deferred Prosecution Agreement (the “Agreement”).
Except as specifically provided below, and in accordance with the provisions specified in
paragraphs 22 and 24 below, this Agreement shall be in effect for a period of 18 months.

Information

1. The United States will file an Information in the United States
District Court for the Eastern District of New York charging CA with (a) securities fraud
in violation of Title 15, United States Code, Section 78j(b) (Count 1), and (b) obstruction
of justice in violation of Title 18, United States Code, Section 15 12(c)(2) (Count 2) (the

“Information”).

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2
Acknowledgment of Violation of Law and Acceptance of Responsibility
2. CA accepts and acknowledges that, as set forth in detail in the
Information (a copy of which is attached hereto as Exhibit B) and the Stipulation of Facts |

(attached hereto as Exhibit C), both of which are incorporated herein by reference,
through the conduct of certain CA executives, officers and employces during the relevant
time period, CA:

(a) _ filed and caused to be filed for certain of CA's fiscal
periods materially false and misleading financial reports and other documents with the
Securities and Exchange Commission (the “SEC”), and made other materially false and
misleading public statements and omissions, in connection with the ourchase and sale of
CA securities, relating to improper accounting practices employed at CA involving the

accelerated recognition of revenues associated with multiple backdated software license
agreements; and

(b) _—_ obstructed an investigation being conducted by a grand jury
sitting in the Basten District of New York, with the assistance of the Federal Bureau of
Investigation (the FBI"), involving accounting and financial fraud at CA (the “Grand
Jury Investigation”), and an investigation being conducted by the SEC involving
accounting and financial fraud at CA (the “SEC Investigation”).

3. CA accepts and acknowledges full responsibility for the conduct
set forth in the Information and in the Stipulation of Facts by entering into this
Agreement and by, among other things: (a) the remedial actions that CA has taken to date
(described in paragraph 4 below); (b) CA’s continuing commitment of full cooperation
with the Office, the FBI and the SEC (collectively, the “Investigative Entities”); (c) CA’s

agreement to fulfill all of the undertakings CA has made in this Agreement, including to |

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pay $225,000,000 in restitution to compensate former and current CA shareholders for

losses caused by the conduct set forth in the Information and the Stipulation of Facts; (d)
CA’s agreement to comply in the future with Federal criminal laws, including Federal
securities laws; and (e) CA's issuance of up to 5.7 million shares of CA Common Stock
and payment of cash, at a total cost to CA to date of approximately $163 million, to
compensate present and former CA shercholders in connection with the following cases

brought in the United States District Court for the Eastern District of New York, Ine

Computer Associates Class Action Securities Litigation, 98 Civ. 4839 (TCP), Inre

Computer Associates 2002 Class Action Securities Litigation, 02 Civ. 1226 (TCP),

Ambler vy. Computer Associates, 02 Civ. 6281 (TCP), and Federman v. Artzt, et. al, 03
Civ. 4199 (TCP).

4. CA represents that its Board of Directors and current senior
management have taken numerous remedial actions in response to the misconduct at CA
that has been discovered by the Grand Jury Investigation, the SEC Investigation and an
internal investigation conducted by CA (described in paragraph 5 below). These
remedial actions have included:

(a) terminating CA officers and employees who were
responsible for the improper accounting, inaccurate financial reporting, and obstruction
of justice set forth in the Information and Stipulation of Facts;

(b) terminating CA officers and employees who refused to
cooperate with CA’s internal investigation or who otherwise took steps to obstruct or

impede that investigation; and

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{(c) appointing new management, including, but not limited to,

an Interim Chief Executive Officer, a new Chief Operating and Chief Financial Officer, a
new Head of Worldwide Sales, and a new General Counsel.

5. In late-July 2003, CA, through its Audit Committee, retained the
law firm of Sullivan & Cromwell LLP (“S&C”) to conduct an internal investigation into
CA's accounting and financial practices. In December 2003, CA's internal investigation
was expanded to include an inquiry into whether any of CA’s officers and employees
obstructed or failed to cooperate with the Grand Jury Investigation and the SEC
Investigation. CA's internal investigation was conducted with the assistance of a forensic
accounting team from PricewaterhouseCoopers (‘PwC”) and involved more than 100
interviews and the review of hundreds of thousands of pages of documents and e-mails.
CA has shared with the Investigative Entities the results of its internal investigation, | @
including documents that might otherwise have been withheld under the attomey-client
privilege and the work-product doctrine. CA acknowledges and understands that its
prior, ongoing and future cooperation are important and material factors underlying the
Office's decision to enter into this Agreement, and, therefore, CA agrees to continue to
cooperate fully and actively with the Investigative Entities and with any other agency of
the government designated by the Office (“Designated Agencies”) regarding any matter
about which CA has knowledge or information.

6. During the term of this Agreement, CA agrees that its continuing
cooperation shall include, but not be limited to, the following:

(a) Completely and truthfully disclosing all information in its

possession to the Investigative Entities about which the Investigative Entities may |

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inquire, including but not limited to all information about activities of CA, present and
former members of CA’s Board of Directors, and CA’s officers, employees, and agents; , '

(b) Assembling, organizing and providing all documents,
records, and other evidence in CA’s possession, custody, or control as reasonably may be
requested by any of the Investigative Entities or Designated Agencies:

(c) Not asserting, in relation to the Investigative Entities, any
claims of attorney-client privilege or attorney work-product doctrine as to any
documents, records, information or testimony requested by the Investigative Entities
related to: (i) factual internal investigations concerning the conduct set forth in the
Information and the Stipulation of Facts; or (ii) legal advice given contemporancously
with, and related to, such conduct. Such materials are referred to hereinafter as the
“Confidential Materials.” By producing the Confidential Materials pursuant to this
Agreement, CA does not intend to waive the protection of the attorncy-client privilege or
the attorney work-product protection, or any other privilege applicable, as to third parties.
The Investigative Entities will maintain the confidentiality of the Confidential Materials
pursuant to this Agreement and will not disclose them to any third party, except to the
extent that any Investigative Entity determines, in its sole discretion, that disclosure is
otherwise required by Jaw or would be in furtherance of the discharge of its duties and
responsibilities.

(d) —_- Using its reasonable best efforts to make available its
present and former officers and employees to provide information and/or testimony as
requested by the Investigative Entities or any of the Designated Agencies, including

sworn testimony before a grand jury or in court proceedings, as well as interviews with

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law enforcement authorities. Cooperation under this paragraph shall include
identification of witnesses who, to CA’s knowledge and information, may have material ‘
information concerning the conduct set forth in the Information and the Stipulation of |
Facts. |
(c) Providing testimony or information necessary to identify or
establish the original location, authenticity, or other basis for admission into evidence of
documents or physical evidence in any criminal or other proceeding as requested by the
Investigative Entities or any of the Designated Agencies, including information and
testimony concerning the conduct set forth in the Information and Stipulation of Facts.
(f) With respect to any information, testimony, documents,
records or physical evidence provided by CA to the Investigative Entities, any of the |

Designated Agencies or a grand jury, other than Confidential Materials, CA consents to

any and all disclosures of such materials to such Designated Agencies as the Office, in its @

sole discretion, deems appropriate. With respect to any such matcrials that constitute
‘“natiers occurring before the grand jury” within the meaning of Rule 6{e) of the Federal
Rules of Criminal Procedure, CA further consents to: (i) any order sought by the Office

| permitting such disclosures; and (ii) the Office’s ex parte or in camera application for
such orders; and ,

(zg) Providing active assistance, including assistance by S&C
and PwC, in connection with any investigation, criminal prosecution, civil trial or other
legal proceeding brought by the Investigative Entities, including any proceeding seeking
to obtain disgorgement (or other similar relief) of compensation (including compensation

received pursuant to any CA stock option or similar plan) from any present or former CA

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officer or employee. CA and its Board of Directors will fully support efforts by the

Investigative Entities to obtain disgorgement of compensation from any present or former

CA officer or employee who engaged in any improper conduct while employed at CA.
To the extent permitted by applicable law, CA may be entitled to apply as a victim, on

behalf of itself and/or its present or former shareholders, for an award of some or all of
the amount of any such disgorged compensation obtained by the Investigative Agencies
from such present and former CA officers or employees.

7. CA agrees that, following the expiration of this Agreement as
specified in paragraph 24 below, CA will continue to fulfil? the cooperation obligations
set forth in paragraph 6 above in connection with any investigation, criminal prosecution
or civil proceeding brought by any of the Investigative Entities relating to or arising out
of the conduct set forth in the Information and the Stipulation of Facts. CA's obligation
to cooperate is not intended to apply in the event that CA is a defendant in any such
proceeding.

Pa of Restitution to CA Sharchol

8. In addition to CA's payment of compensation to current and
former CA shareholders in connection with the civil litigation described in paragraph 3
above, CA agrees to pay an additional $225,000,000 for purposes of restitution to current
and former CA shareholders who suffered losses because of the conduct of certain former
CA officers and employees set forth in the Information and Stipulation of Facts,
according to the following schedule: $75,000,000 within 30 days of the date of approval

by the Court of this Agreement to defer prosecution, as specified in paragraph 23 below,
$75,000,000 within one year of the date of the Court’s approval of this Agreement to

defer prosecution; and $75,000,000 within 18 months of the Court’s approval of this !

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Agreement to defer prosecution. The monies paid by CA in accordance with this
paragraph shall constitute the “Restitution Fund.” In the event that the Restitution Plan
(defined in paragraph 11 below) has not been approved by the Court by the date of the
first payment specified above to the Restitution Fund, CA shall deposit such funds in an
interest-bearing account at a financial institution under terms approved by the Office.
9. CA agrees that it will not, in connection with the monies it pays
into the Restitution Fund, seek, obtain or accept any reimbursement or other payments or
credits from any insurer of CA or of any of its divisions or subsidiarics.
10. CA agrees to retain and to compensate an individual or entity to
administer the distribution of the proceeds of the Restitution Fund to current and former
CA shareholders (the “Fund Administrator”). The Fund Administrator's compensation
will not be paid out of the Restitution Fund. CA will easure, as a condition of retention, .
that the Fund Administrator agree to abide by all the terms and conditions set forth in this ®
Agreement, The identity and terms of retention and compensation of the Fund
Administrator must be approved by the Office. Within 30 days of the date of execution
of this Agreement, CA will submit to the Office a proposal setting forth the identity and
terms of retention and compensation of the Fund Administrator. The Office will approve
or disapprove the proposed Fund Administrator within 15 days of its receipt of a
proposal, If the Office disapproves the proposed Fund Administrator, CA will, within 30
days of reccipt of notice of such disapproval, submit a revised proposal, which the Office
will approve or disapprove within 15 days. The procedure set forth in this paragraph will
continue, as necessary, unti] such time as the Office approves a proposed Fund

Administrator.

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11. Within six months of the retention of the approved Fund
Administrator, the Fund Administrator will prepare and submit to the Office a plan (the
“Restitution Plan”) setting forth the procedures governing the activities of the Fund
Administrator, including but not limited to (a) the procedures by which present and
former CA shareholders injured by the conduct set forth in the Information and
Stipulation of Pacts will be identified, and (b) the procedures by which the financial
“losses of such CA shareholders will be determined and restitution for such losses will be
paid. In connection with the preparation of the Restitution Plan, CA shall assist and
cooperate with the Fund Administrator. Because the restitution paid pursuant to this
Agreement is not ordered as part of a judgment of conviction, the provisions of 18 U.S.C.
§§ 3663 et seq. are inapplicable. The Restitution Plan must be approved by the Office
and the Court. The Office will approve or disapprove the Restitution Plan within 30 days
of its receipt. Lf the Office disapproves the proposed plan, the Fund Administrator will,
within 30 days of receipt of notice of such disapproval, submit a revised plan, which the
Office will approve or disapprove within 30 days. This process will continue, as
necessary, until a plan is approved by the Office. Then, the Office and CA will jointly
submit the approved Restitution Plan to the Court for its approval. If the Court rejects the
approved Restitution Plan, the procedure set forth in this paragraph will be repeated until
such time as the Court approves a Restitution Plan.
Corporate Reforms
12. CA agrees to add new independent directors to its Board of
Directors and to undertake corporate governance reforms such that, by December 31,

2005, CA will have:

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{a) in addition to former SEC Commissioner Laura Unger,

added a minimum of two new independent directors to CA’s Board of Directors, so that
no less than two-thirds of the members of CA’s Board of Directors will be independent |
directors;

(b) established a Compliance Committee of the Board of
Directors.(the “Compliance Committee”), cither as a separate committee or as part of a
reconstituted Corporate Governance and Compliance Committee or Audit and
Compliance Committee, to examine CA's Intemal Audit Department and the compliance

’ functions within CA’s Legal and Finance Departments, including compliance with all of

the terms and conditions of this Agreement,

(c) established a new Disclosure Committee composed of the
Chief Executive Officer, Chief Operating Officer, Chief Financial Officer, Chief
Compliance Officer, Chief Accounting Officer and General Counsel that meets and @
confers, under the direction of a duly clected chairperson, prior to significant filings with
the SEC and the issuance of significant press releases; and

(d) established enhanced corporate governance procedures“
providing for improved shareholder, community and governmental communications with
CA and its Board of Directors. Such measures will include: (j) inclusion of a report of
the Compliance Committee on CA's website and in each annual proxy statement mailed
to CA shareholders during the term of this Agreement describing CA’s efforts to comply
with this Agreement and to implement the recommendatio:.s of the Independent
Examiner (described below) regarding best-in-class corporate compliance and ethics

programs; and (ii) adoption of procedures to ensure that all inquiries raised by

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government entities, or by CA shareholders, customers, suppliers and employees,

regarding compliance and ethics matters receive prompt review, including reporting of

such matters, as appropriate, to the Compliance Committee and, where appropriate, the
full Board of Directors.

13. By December 31, 2005, CA agrees to: (a) establish new
comprehensive records management policies and procedures, as well as testing programs
to ensure compliance therewith, and (b) take steps to implement best practices with
respect to the recognition of software license revenue, including enhanced quarter-end
contract cut-off procedures, both subject to the review of the Independent Examiner.

14. CA agrees to establish a comprehensive Compliance and Ethics
Program such that, by December 31, 2005, CA will:

(a) establish a comprehensive ethics and compliance training
program for all CA employees designed to minimize the possibility of future violations of
the Federal securities and other laws by CA;

(b) appoint an independent, senior-level Chief Compliance
Officer, after consultation with the Office, who will report directly to both the
Compliance Committee and the General Counsel; and

. (c} amend CA’s senior executive compensation plans to add an
enhanced component to CA’s performance-based programs tied to the establishment and
maintenance of high ethical and compliance standards throughout CA.

15S. CA agrees that, by December 31, 2005, CA will reorganize its

Finance Department, including, but not limited to, the appointment of a Corporate

Controller, a Chief Accounting Officer, and a Financial Controller for each of CA’s

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primary business functions -- Direct Sales, Indirect Sales, Development and Services, or
their successors. The Corporate Controller and Chief Accounting Officer will report to
the Chief Financial Officer but will also communicate directly, as appropriate, with the —
Board of Directors and CA's external auditors. CA also agrees to begin the process of
implementing, by December 31, 2005, an improved worldwide financial and enterprise
resource planning (“ERP”) information technology system to improve controls, eliminate
errors caused by existing manual processes, and enhance CA's ability to audit its own
systems. CA’s implementation of the ERP system will be subject to the review of the
Independent Examiner (see below), and an assessment of such implementation of the
ERP system will be included in the Independent Examiner’s reports issued under
Paragraph 19(g) of this Agreement.

16. - By December 31, 2005, CA agrees to reorganize and enhance its
Internal Audit Department, including hiring at least five additional internal auditors. ©
CA's Internal Audit Department will report to both the Audit Committee of CA*s Board
of Directors and CA's General Counsel.

17. By December 31, 2005, CA agrees to establish a written plan
designed to ensure the improvement and ongoing effectiveness of communications with
all governmental agencies engaged in inquiries or investigations relating to CA, its
subsidiaries or affiliates. The plan shall address, consider and include:

(a) Regular reporting by CA’s management and outside and
internal counsel to the Compliance Committee and, as appropriate, the full Board of

Directors regarding communications with government agencies engaged in inquiries or

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investigations relating to CA, including, but not limited to, providing copies of all written
communications to and from such government agencies to the Compliance Committee; t

(b) Complete and prompt access for government agencies to all
CA staff and management; .

(c) Meetings with the Board of Directors or committees thereof
upon the request of such governmental agencies engaged in inquiries and investigations
of CA; and

(a) Training for CA personnel designed to improve
communication and cooperation with such governmental agencies engaged in inquiries
and investigations of CA.

18. By December 31, 2005, CA agrees (a) to enhance its current
telephone hotline to provide a means for employees anonymously to report any potential
@ violations of law or other misconduct, (b) to publicize within CA the existence and
purpose of the hotline, and (c) to ensure all employees that no negative action will be
taken against any employee who makes a report through the hotline.
Appointment of Independent Exeminer
19. _ In accordance with the procedure specified in paragraph 20 below,
CA agrees to retain and compensate an independent individual or entity to examine CA's
compliance with this Agreement, to conduct a comprehensive review of the areas
specified in subparagraphs (a) to (f) below, and to make récommendations to the Board
of Directors for review and implementation, after consultation with the Office, regarding
best practices in these areas (the “Independent Examiner”). The Independent Examiner

will, in addition to examining CA’s compliance with this Agreement:

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(a) examine CA’s practices for the recognition of software
license revenue;

(b) examine CA’s internal accounting controls (the
Independent Examiner may, if appropriate, rely on CA's external accountant’s report on
the effectiveness of CA’s internal accounting controls pursuant to Section 404 of the
Sarbanes-Oxley Act);

{c) examine CA’s implementation of an improved ERP
information technology system;

(d) examine CA's Internal Audit Department;

(c) examine CA’s ethics and compliance policies;

# examine CA’s records management policies and
procedures;

(a) within six months of appointment, issue a written report to
the Office, the SEC and to CA’s Board of Directors making recommendations regarding
best practices for the areas specified in subparagraphs (a) to (f) above; and

(h) issue written quarterly reports to the Office, the SEC and to
CA’s Board of Directors on CA’s compliance with this Agreement during the term of the
Independent Examiner's appointment.

20. Within 30 days of the date of execution of this Agreement, CA will
submit to the Office and the SEC a proposal sctting forth the identity, qualifications, and
proposed terms of retention of five candidates (either individuals or entities) to act as the
Independent Examiner. The Independent Examiner’s compensation shall not be paid out

of the Restitution Fund. The Office and the SEC, within 30 days of such notice, will

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jointly either (a) approve three of the candidates, or (b) require CA to propose additional

" candidates within 15 days. This process will continue, as necessary, until the Office and
the SEC have jointly approved three candidates, Then, the Office, the SEC and CA will
jointly submit the three approved candidates to the Court. The Office and the SEC may,
in their discretion, make a recommendation to the Court regarding the three candidates.
The Court shall select the Independent Examiner from the three approved candidates and
issue an order appointing the Independent Examines. If the Court rejects all three
approved candidates, the procedure set forth in this paragraph will be repeated until such
time as the Court approves an Independent Examiner, The procedures set forth in this
paragraph are subject to the approval of the Court. If the Court does not approve the
procedures set forth in this paragraph, the Office, the SEC and CA will agree upon a
different procedure for the appointment of the Independent Examiner, and neither CA nor
the Office will be relieved of any of the other terms, conditions and obligations set forth
in this Agreement.

21. CA agrees that the Independent Examiner shall have reasonable
access to all of CA’s books and records and the ability to meet privately with CA |
employees. Except in respect of communications with the Office or the SEC, the
Independent Examiner shal] maintain the confidentiality of any non-public business and
financial information of CA. At the conclusion of the Independent Examiner's
engagement, subject to the approval of the Office, the Independent Examiner shall retun
to CA all documents reftecting or referring to non-public business and financial

information of CA.

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22. The Independent Examiner shall have a term of engagement of 18
months from the date of the Court’s order appointing the Independent Examiner. Jf, at
. the conclusion of this 18-month period, less than all recommended reforms (to the extent
deemed significant by the Office) have been substantially implemented for at least two
successive quarters, or significant exceptions have been noted in the course of the
Independent Examiner's most recent quarterly review under paragraph 19(h), the Office
and the SEC may, in their discretion, extend the term of appointment of the Independent
Exeminer until such time as all recommended reforms (to the extent deemed significant
by the Office) have been substantially implemented for at least two successive quarters,
or no significant exceptions have been noted in the course of the Independent Examiner's
most recent quarterly review. Prior to extending the term of this Agreement, the Office

and the SEC will provide CA with an opportunity to be heard with respect to CA’s

implementation of reforms recommended by the Independent Examiner, including as to ; }

the significance of such reforms, and a , reasonable opportunity to cure any exceptions
noted by the Independent Examiner. Because CA’s implementation of a new ERP
system is projected to extend over more than 18 months from the appointment of the
Independent Examiner, CA's inability to implement fully such a system shall not be a
basis to extend the Independent Examiner's term or this Agreement.

Deferral of Prosecution

23. In consideration of CA’s remedial actions to date and its
commitment to: (a) accept and acknowledge responsibility for its conduct; (b) continue
its cooperation with the Office, the SEC and any of the Designated Agencies; (c) make
the payments specified in paragraphs 3 and 8 above; (d) comply with Federal criminal

laws, including Federal securities laws; and (ce) otherwise comply with all of the terms of

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this Agreement, the Office shall recommend to the Court that prosecution of CA on the
Information be deferred for a period of 18 months from the date of the Court's order
appointing the Independent Examiner or until such time as the Independent Examiner's
term of engagement is completed, whichever is later. CA shall expressly waive all rights
to a speedy trial pursuant to the Sixth Amendment of the United States Constitution,
Title 18, United States Code, Section 3161, Fedcral Rule of Criminal Procedure 48(b),
and any applicable Local Rules of the United States District Court for the Eastern District
of New York for the period during which this Agreement is in effect.
24. The Office agrees that, if CA is in compliance with all of its

obligations under this Agreement, the Office will, within 30 days of the expiration of 18
months from the date of Court’s order approving the appointment of the Independent
Examiner or until such time as the Independent Examiner's term of engagement is
completed, whichever is later, seck dismissal with prejudice as to CA of the Information
filed against CA pursuant to paragraph 1 of this Agreement, and this Agreement shall
expire, except as provided in paragraph 7 above. Except in the event of a breach of this
Agreement, the Office will bring no additional charges against CA relating to or arising
out of the matters set forth in the Information or in the Stipulation of Facts. CA and the
Office understand that the Agreement to defer prosecution of CA must be approved by
the Court, in accordance with 18 U.S.C. § 3161(h)(2). Should the Court decline to
approve the Agreement to defer prosecution for any reason, both the Office and CA are
released from any obligation imposed upon them by this Agreement, and this Agreement

shal] be nul! and void.

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25. It is further understood that should the Office determine that CA e
has deliberately given materially false, incomplete, or misleading information pursuant to
this Agreement, has committed any federal crimes subsequent to the date of this
Agreement, or has otherwise knowingly, intentionally and materially violated any
provision of this Agreement, CA thereafter shall be subject to prosecution for any Federal
criminal violation of which the Office has knowledge. Any such prosecution may be

premised on any information provided by or on behalf of CA to the Office, the FBI, the
SEC or any of the Designated Agencies at any time. Moreover, CA agrees that any such
prosecution relating to the allegations in the Information that are not time-barred as of the
date of this Agreement may be commenced against CA in accordance with this
Agreement, notwithstanding the expiration of any applicable statute of limitations
between the signing of this Agreement and the expiration of this Agreement under
paragraph 24. By this Agreement, CA expressly intends to and does waive any rights in @
this respect. Such waiver is knowing, voluntary and in express reliance on the advice of
CA's counsel.

26. It is further agreed that in the event that the Office determines that
CA has knowingly, intentionally and materially violated any provision of this Agreement:
(a) all statements made by or on behalf of CA to the Office, the FBI, the SEC or any of
the Designated Agencies, including but not limited to the Stipulation of Facts, or any
testimony given by CA before a grand jury, or elsewhere, whether before or after the date
of this Agreement, and any leads derived from such statements or testimony, shall be
admissible in evidence in any and all criminal proceedings brought by the Office against

CA; and (b) CA shall not assert any claim under the United States Constitution,

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Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of
Evidence, or any other federal rule, that statements made by or on behalf of CA before or
after the date of this Agreement, or any leads derived therefrom, should be suppressed.

27. CA agrees that it shall not, through its attorneys, Board of
Directors, agents, officers or employees, make any public statement, in litigation or
otherwise, contradicting its acceptance of responsibility or the allegations set forth in the
Information or Stipulation of Facts. Any such contradictory statement by CA, its present
or future attorneys, Board of Directors, agents, officers or employees shall constitute a
breach of this Agreement and CA thereafter shall be subject to prosecution as specified in
paragraphs 23 to 26. The decision as to whether any such contradictory statement will be
imputed to CA for the purpose of determining whether CA has breached this Agreement
shall be at the sole discretion of the Office. Upon the Office’s notifying CA of any such
contradictory statement, CA may avoid a finding of a breach of this Agreement by
publicly repudiating such statement within 72 hours after receipt of notice by the Office.
This Paragraph is not intended to apply to any statement made by any current or former
CA officer, director or employee who has becn charged with a crime or other wrongdoing
by the government or an agency thereof.

28. CA agrees that the decision whether conduct and/or statements of
any individual will be imputed to CA for the purpose of determining whether CA has
knowingly, intentionally and materially violated any provision of this Agreement shall be
in the sole discretion of the Office, provided, however, that the statements of any former
officer, director or employee of CA shall not be attributed to CA such purpose. Should

the Office determine that CA has committed a knowing, intentional and material breach

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of any provision of this Agreement, the Office shall provide written notice to CA,
addressed to its General Counsel, Kenneth V. Handal, Esq., One Computer Associates
Plaza, Islandia, New York 11749, and to CA’s counsel, Robert J. Giufira, Jr., Esq.,
Sullivan & Cromwell LLP, 125 Broad Street, New York, New York 10004, or to any
successor that CA may designate, of the alleged breach and provide CA with a two-week
period from the date of receipt of such ‘notice in which to make a presentation to the
Office, or its designee, to demonstrate that no breach has occurred, or, to the extent
applicable, that the breach was not knowing, intentional or material, or has been cured,
Upon request by CA, the Office may agree in writing to extend this two-week period,
including to provide CA with an opportunity to cure any breach of this Agreement. The
parties to this Agreement expressly understand and agree that should CA fail to make a

presentation to the Office, or its designee, within the two-week period (or other period

agreed to by the Office), the Office may conclusively presume that CA is in knowing, @

intentional and material breach of this Agreement. The parties further understand and
agree that the exercise of discretion by the Office or its designee under this paragraph is
not subject to review in any court or tribunal outside the United States Department of
Justice. .

29. Except to the extent permitted by the Office, CA agrees that, if it
sells or merges al] or substantially all of its business operations as they exist as of the date
of this Agreement to or into a single purchaser or group of affiliated purchasers during
the term of this Agreement, CA shal] include in any contract for sale or merger a

provision binding the purchaser/successor to CA's obligations described in this

Agreement.

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30. It is understood that this Agreement is binding on CA and the
United States Attorney’s Office, but specifically does sot bind any other Federal
agencies, any state or local law enforcement agencies, any licensing authorities, or any
regulatory authorities, However, if requested by CA or its attorneys, the Office will bring
to the attention of any such agencies, including but not limited to any licensing
authorities, the Agreement, the cooperation of CA and its compliance with its obligations
under this Agreement, and any corporate reforms specified in this Agreement. It is the
intent of the parties to this Agreement that the Agreement docs not confer or provide any
benefits, privileges or rights to any individual or other entity other than the parties hereto,
and that nothing in the Agreement shall be construed as acknowledging that the
Agreement, including the Information or the Stipulation of Facts and the evidence
underlying the Agreement, the Information or the Stipulation of Facts, shall be admissible
in any proceeding other than a proceeding brought by the Office. Moreover, CA may
raise defenses and/or assert affirmative claims in any civil proceedings brought by private
parties as long as doing so does not otherwise violate any term of this Agreement.

«31. CA. and the Office agree that, upon filing of the Information in

accordance with paragraph | hereof, this Agreement (including its attachments) shall be
publicly filed in the United States District Court for the Eastern District of New York.

32. This Agreement sets forth all the terms of the Deferred Prosecution

Agreement between CA and the Office. No modifications or additions to this Agreement

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shall be valid untess they are in writing and signed by the Office, CA's attomeys, and &

duly authorized representative of CA.

Dated: Brooklyn, New York

 

 

September 22, 2004
ROSLYNN R. MAUSKOPF
United States Attorney
Eastem District of New York
» USB PAY
David B. Pitofsky l
Principal Deputy Chief, Criminal Division
Eric 0. Comgold
Chief, Business & Securities Fraud Unit
AGREER. AND CONSENTED TO BY: .
pews S. Ranieri
inmen of the Board
Computer Associates International, Inc.
Defendant

Robert J. Giufira, Jr., Esq. he

Sullivan & Crorawell LLP
Counsel to Defendant

SO ORDERED:

T. leo Glasser
ae ef Leo. |, LEO GLASSER

UNITED STATES DISTRICT JU DGE
EASTERN DISTRICT OF NEW YORK

 

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COMPUTER ASSOCIATES INTERNATIONAL, INC,
CERTIFICATE OF CORPORATE RESOLUTION

I, Kenneth D. Cron, do hereby certify that ] am the Chief Executive Officer of Computer
Associates International, Inc. (“Computer Associates”), a Delaware corporation, and that the
following is a complete and accurate copy of resolutions adopted by the Board of Directors of
Computer Associates (the “Board of Directors”) at a meeting held on September 21, 2004 at
which a quorum was present:

RESOLVED: That Lewis S. Ranieri, Chairman of the Board of Directors, be and hereby is
authorized to act on behalf of the Corporation, and in his sole discretion: —

(1) to negotiate, approve and execute the deferred prosecution agreement between Computer
Associates and the U.S. Department of Justice (“Department of Justice”), in substantially the
form attached to the minutes of this meeting, and any amendments thereto, and to consent to the
filing of an information and stipulation of facts, in substantially the form attached to the minutes
of this meeting, and any amendments thereto, in the United States District Court for the Eastern
District of New York (the “DOJ Deferred Prosecution Agreement’); and

(2) to negotiate, approve and make the offer of settlement of Computer Associates, in
substantially the form attached to the minutes of this meeting, and any amendments thereto, to
the United States Securities and Exchange Commission (“Commission”) in connection with the
investigation conducted by the Commission (the “SEC Settlement’).

RESOLVED FURTHER: That the aforementioned Officer be and hereby is authorized to
undertake such action as he may deem necessary and advisable, including the execution of such
documentation as may be required by the Department of Justice and the Commission, in order to
carry out the foregoing, including the payment of forfeitures and fees to carry into effect the
intent and purpose of these resolutions.

RESOLVED FURTHER: That Robert J. Giuffra, Jr., Esq. of Sullivan & Cromwell LLP, be and
hereby is retained as legal counse] to Computer Associates to represent Computer Associates,
and to make any representations or agreements in its name and on its behalf that he deems
necessary or appropriate, in any judicial or other legal proceeding relating to the DOJ Deferred
Prosecution Agreement and SEC Settlement.

| further certify that the aforesaid resolutions have not been amended or revoked in any respect
and remain in full force and effect.

IN WITNESS WHEREOF, I have executed this Certificate as a sealed instrument this __ day of
September, 2004.

By:

 

Kenneth D. Cron
Chief Executive Officer
Computer Associates International, Inc.
State of )

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) ss.:
County of )

On September __, 2004, Kenneth D. Cron, a person known to me, personally appeared before me
and acknowledged executing the foregoing Certificate of Corporate Resolution with full ;
authority to do so on behalf of Computer Associates International, Inc. as its Chief Executive
Officer.

 

Notary Public
State of New York

Commission No.
My commission expires on

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CA.INF.wpd

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

- =- ~~ a id x
UNITED STATES OF AMERICA INFORMATION
- against - Cr. No. 04-837 (ILG)
(T. 15, U.S.C., §8 7835 (b)
COMPUTER ASSOCIATES and 78ff; T. 18, U.§&.C.,
INTERNATIONAL, INC. $8 1512(c) (2) and 3551 et
peg.)

Defendant.

THE UNITED STATES ATTORNEY CHARGES:
INTRODUCTION

At all times relevant to thie Information, unless
otherwise stated:
I. Background

A. The Defendant

1. COMPUTER ASSOCIATES INTERNATIONAL, INC. ("CA"),
was a Delaware corporation with its headquarters and principal
place of business located in Islandia, New York. CA was one of
the world’s largest providers of computer software for upe by
businesses. CA’s reported revenue for its fiscal year ending
March 31, 1999 was $5.253 billion. CA’s reported revenue for its
fiscal year ending March 31, 2000 was $6.776 billion.

2. CA was a publicly traded corporation, the common
stock of which was listed on the New York Stock Exchange. CA‘6
shareholders were located throughout the United States, including

in the Eastern District of New York.

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3. CA did not sell or transfer title to its software
products to its customers. Inetead, CA licensed ite software
products pursuant to license agreements by which CA’s customers
agreed to pay a one-time license fee and annual usage and
maintenance fees,

B. Cextain Relevant Accounting Principles

4. As a public company, CA was required to comply
with the rules and regulations of the United States Securities
and Exchange Commission (the “SEC*). The SEC’s rules and
regulations were designed to protect members of the investing
public by, among other things, ensuring that a company's
financial information was accurately recorded and disclosed to
the investing public.

5. Under the SEC’s rules and regulations, CA and its ©
officers were required to (a) make and keep books, records and
accounts which, in reasonable detail, fairly and accurately
reflected the company's business traneactions, including its
revenue and expenses; (b) deviee and maintain a system of
internal accounting controle sufficient to provide reasonable
assurance that the company’s transactions were recorded as
neceasary to permit preparation of financial statements in
conformity with Generally Accepted Accounting Principles
("GAAP"); and (c) file with the SEC quarterly reports (on Form

10-Q) and annual reports (on Form 10-K) which included financial

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statements that accurately presented CA’s financial condition and
the results of ite business operations in accordance with GAAP.

6. Under GAAP, four conditions were required to be
met in order for revenue associated with a software license
agreement to be recognized: (a) persuasive evidence of an
arrangement was required to have existed; (b) delivery of the
licensed products was required to have occurred; (ec) the license
fee was required to have been fixed or determinable; and (ad) the
collectibility of the license fee was required to have been
probable.

7. When a written contract was used to memorialize a
license agreement, the GAAP “persuasive evidence’ criterion
required that the contract be signed by both vendor and customer.
Accordingly, under GAAP, in order for CA properly to have
recognized revenue from a license agreement in a particular
fiecal quarter, the license agreement was required to have been
signed by both CA and its customer within that quarter.

6. When a license agreement was finalized, for
accounting purposes CA allocated its revenue among the license
fee and the usage and maintenance fees, with 80 percent or more
normally allocated to the license fee. CA then calculated the
present value of the license fee, which was normally collected
incrementally over the texm of the agreement. The present value

of the license fee, which was referred to within CA as the “GAAP

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Value,” wae then recognized as revenue in the quarter in which
the agreement was purportedly finalized and signed.
Cc. Consensys Estimates

9. CA regularly issued public predictions at the
outset of each fiscal quarter of the revenue and earnings it
expected to earn during that quarter. Based in part on these
predictions, profeesional stock analyets estimated what they
believed would be CA's total revenue during the period and
predicted the earnings per share of CA stock. The average of the
estimates of the professional analysts was commonly referred to
as the *conseneus estimate.”

10. CA's officers, executives and directors understood
that CA’s failure to meet or exceed the consensus estimate for a
quarter would likely result in a substantial decrease in the © :
company’s stock price. For example, on July 3, 2000, CA issued a
press release which reported that the company expected “financial
results for the first quarter fof fiscal year 2001] ending June
30, 2000 to be lees than current Wall Street estimates.“ In the
press release, CA cited as one of the factors contributing to its
failure to meet the consensus estimate “the fact that several
large contracts that were expected to close in the final days of
the quarter have been delayed . . . .” On the date of the press
release, which was issued after the market closed, CA's stock

price closed at $51.12 per share. On the next trading day,

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July 5, 2000, CA’s stock price opened at $29.00 per share,
representing a percentage drop of slightly more than 43 percent.
D. i 735- *

11. Prior to and during CA's fiscal year 2000,
which ended March 31, 2000, numerous CA officers and executives
engaged in a systemic, company-wide practice of falsely and
fraudulently recording and reporting within a fiscal quarter
revenue associated with certain license agreements even though
those license agreements had not in fact been finalized and
signed during that quarter. This practice, which was sometimes
referred to within CA as the “35-day month” or the “three-day
window,” violated GAAP and resulted in CA's filing of materially
false financial statements.

12. The practice was referred to as the *35-day month’
because it involved artificially extending months, primarily the
last month of a fiscal quarter, beyond the true end of the month.
The practice did not, however, only result in months that were
artificially extended to 35 days. Instead, months were often
artificially extended even longer. Nonetheless, for the sake of
simplicity, the practice is referred to hereinafter as the °35-
day month practice."

13. The central goal of the 35-day month practice
was to permit CA to report that it met ‘cr exceeded its projected

quarterly revenue and earnings when, in truth, CA had not. met its

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projected quarterly revenue and earnings. As a result of the
practice, CA reported falsely to investors and regulators during
numerous fiscal quarters, including each of the four quarters of
CA‘s fiscal year 2000, that it had met or exceeded its consensus
eatimates. In fact, in each of the four quarters of fiscal year
2000, CA improperly recognized and falsely reported hundreds of
millions of dollars of revenue associated with numerous license
agreements that had been finalized after the quarter close. in
so doing, CA made misrepresentationa and omissions of material
fact which were relied upon by members of the investing public.

14. As part of the 35-day month practice, certain CA
executives routinely extended CA‘a fiscal quarters, normally for
three business days. This practice, which was known as *keeping
the books open," was designed and executed so that CA could
falsely record and report revenue associated with license
agreements finalized after the end of fiscal quarters. The
period including three business days after the end of fiscal
quarters was referred to within CA ap the *flash period.”

15. As a further part of the 35-day month practice,
certain CA executives regularly met and conferred with each other
in the days leading up to and following the end of fiscal
quarters, including during the flash period. The purpose of
these meetings was to determine whether CA had generated for the

quarter just ended, including during the flash period, sufficient

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revenue to meet the consensus estimate. In each of the four
quarters of CA's fiscal year 2000, the CA executives collectively
determined that the total revenue generated for the quarter by
the end of the flash period was less than needed to meet the
consensus estimate. In each such instance, the CA executives
caused CA to keep its books open for additional days beyond even
the flash period to generate sufficient revenue to meet the
consensus estimate.

16. As a further part of the 35-day month practice,
while CA‘s books were held open, certain CA executives instructed
CA sales managers and salespeople to negotiate and finalize
additional license agreements, which were backdated to disguise
the fact that the agreements had been finalized after the end of
the fiscal quarter. CA then fraudulently recorded and reported
in the earlier quarter revenue associated with the backdated
agreements.

17. As a further part of the 35-day month practice,
certain CA officers and executives concealed the existence of the
practice from CA’s outside auditors. Among other things, CA
executives engaged in a practice of “cleaning up” copies of
backdated license agreements before providing copies of the
agreements to CA’s outside auditors. This practice included, but
was not limited to, removing from license agreements facsimile

stamps and other notations which showed the true date on which

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the agreements were finalized. Thie practice was designed and
carried out to prevent CA‘s outside auditore, and by extension
the investing public, from learning of CA's failure to meet or
exceed the consensus estimates for the given quarter.

(1) Fixet Quaxter of Fiscal Year 2000

18. The first quarter of CA's fiscal year 2000
included the period from April 1, 1999 to June 30, 1999 (the
“First Quarter"). The consensus estimate for the First Quarter
was that CA’s earnings would be 47 cents per share. When the
First Quarter ended on June 30, 1999, CA had not generated
sufficient revenue to meet the consensus estimate.

19. Por the First Quarter, CA improperly recognized
revenue associated with approximately 22 license agreements
having an aggregate GAAP Value of approximately $240 million.
Of this total, approximately $120 million was associated with
license agreements signed by CA customers after June 30, 1999,
while approximately $120 million was associated with license
agreements countersigned by CA after June 30, 1999. The
improperly recognized revenue represented approximately 20

percent of CA's reported revenue for the First Quarter.

20. On or about July 20, 1999, CA filed with the SEC

ite quarterly report on Form 10-Q and issued a related press

release. In these public documenta, CA falsely reported its

quarterly financial results, in that CA reported revenue for the

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Firat Quarter that included revenue associated with license
agreements finalized after June 30, 1999. Through its false
filings and statements, CA reported earnings per share of 49
cents exclusive of non-recurring charges and thereby created the
false and fraudulent appearance that CA had exceeded the
consensus earnings estimate for the First Quarter by two cents
per share.

(2) Second Quarter of Fiscal year 2000

21. The second quarter of CA's fiscal year 2000
included the period from July 1, 1999 to September 30, 1999 (the
“Second Quarter’). The consensus estimate for the Second Quarter
was that CA’s earnings would be 59 centa per share. When the
Second Quarter ended on September 30, 1999, CA had not generated
sufficient revenue to meet the consensus estimate.

22. Por the Second Quarter, CA improperly recognized
revenue associated with approximately 58 license agreements

having an aggregate GAAP Value of approximately $560 million.

‘Of this total, approximately $470 million was associated with

license agreements signed by CA customers after October 30, 1999,
while approximately $90 million was associated with license
agreements countersigned by CA after October 30, 1999. The
improperly recognized revenue represented approximately 35

percent of CA's reported revenue for the Second Quarter.

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23. On or about October 15, 1999, CA filed with the

SEC its quarterly report on Form 10-Q and iseued a related press
release. In these public documents, CA falsely reported ite
quarterly financial results, in that CA reported revenue for the
Second Quarter that included revenue associated with license
agreements finalized after September 30, 1999. Through its false
filings and statements, CA reported earnings per share of 60
cents exclusive of non-recurring charges and thereby created the
false and fraudulent appearance that CA had exceeded the
consensus earnings estimate for the Second Quarter by one cent
per share.

(3) Third Quarter of Fiscal Year 2000

24. ‘The third quarter of CA's fiscal year 2000
included the period from October 1, 1999 to December 31, 1999
(the *Third Quarter”). The consensus estimate for the Third
Quarter was that CA's earnings would be 90 cents per share.
when the Third Quarter ended on December 31, 1999, CA had not
generated sufficient revenue to meet the consensus estimate.

25. For the Third Quarter CA improperly recognized
revenue associated with approximately 49 license agreements
having an aggregate GAAP Value of approximately $570 million.
of this total, approximately $400 million was associated with
license agreeme:.ts signed by CA customers after December 31,

1999, while approximately $170 million was associated with

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license agreements countersigned by CA after December 31, 1999.
The improperly recognized revenue represented approximately 32
percent of CA’s reported revenue for the quarter.

26. On or about January 26, 2000, CA filed with the
SEC ite quarterly report on Form 10-Q and issued a related press
release. In these public documents, CA falsely reported its
quarterly financial results, in that CA reported revenue for the
Third Quarter that included revenue associated with license
agreements finalized after December 31, 1999. Through its falee
filings and statements, CA reported earnings per share of 91
cente exclusive of non-recurring charges and thereby created the
false and fraudulent appearance that CA exceeded the consensus
earnings estimate for the Third Quarter by one cent per share.

(4) Fourth Ovarter of Fiscal Year 2000

27. The fourth quarter of CA‘s fiscal year 2000
included the period from January 1, 2000 to March 31, 2000 (the
*pourth Quarter”). The consensus estimate for the Fourth Quarter
wap that CA‘s earnings would be $1.13 per share. When the Fourth
Quarter ended on March 31, 2000, CA had not generated sufficient
revenue to meet the consensus estimate.

28. For the Fourth Quarter CA improperly recognized
revenue associated with approximately 36 license agreements
having an aggregate GAAP Valve of approximately $360 million.

Of this total, approximately $200 million wae associated with

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license agreements signed by CA customers after March 31, 2000,

while approximately $180 million was associated with license

agreements countersigned by CA after March 31, 2000. The

improperly recognized revenue represented approximately 16

percent of CA‘’s reported revenue for the quarter.

29. On or about May 15, 2000, CA filed with the SEC

ite annual report on Form 10-K ana issued a related presse

release.

In these public documents, CA falsely reported its

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quarterly financial resulte, in that CA reported revenue for the

Fourth Quarter that included revenue associated with license

agreements finalized after March 31, 2000. Through its false

filings and statements, CA reported earnings per share of $1.13

cents exclusive of non-recurring charges and thereby created the

false and

fraudulent appearance that CA had met the consensus

earnings estimate for the Fourth Quarter.

E. Qbstruction of Justice

30. In or about the beginning of 2002, the United

States Attorney's Office for the Eastern District of New York

(the “United States Attorney's Office’), the Federal Bureav of

Investigation (the “FBI*) and the Northeast Regional Office of

the SEC began investigations into CA’s accounting practices,

including whether, during the late-1990s and thereafter, CA

engaged in improper accounting practices with the intent to

overstate

its fiscal quarterly revenue to make it appear a8

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though the company had met consensus estimates. Since June 2002,
a grand jury sitting in the Eastern District of New York had been
considering evidence about CA‘a accounting practices. (These
investigations are referred to collectively as the “Government
Investigations.*)

31. In or about February 2002, CA retained a law firm
(the “Company's Law Firm’) to represent it in connection with the
Government Investigations. Through the Company's Law Firm, CA
represented to the United States Attorney’s Office, the FBI and
the SEC that it was committed to cooperating fully with the
Government Investigations. This representation was also made
publicly by CA in press releases, SEC filings and other public
statements. Additionally, in a press release issued on February
20, 2002, CA denied that it had engaged in any improper
accounting practices, declaring: “The reporting of our financial
results has always been in accordance with applicable accounting
principles.”

32. Shortly after being retained in February 2002, the
Company's Law Firm met with certain CA executives in order to
inquire into their knowledge of the practices that were the
subject of the Government Investigations. During these meetings,
the CA executives did not disclose, falsely denied and otherwise
concealed the existence of the 35-day month practice. Moreover,

the CA executives concocted and presented to the Company's Law

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Firm an assortment of false justifications, the purpose of which
was to support their false denials of the 35-day month practice.
The CA executives knew, and in fact intended, that the Company's
Law Fixm would present these false justifications to the United
States Attorney’s Office, the SEC and the FBI so as to obstruct
and impede the Government Investigations.

33. For example, during a meeting with attorneya from
the Company’ s Law Firm, CA's Chief Executive Officer, Sanjay
Kumar, and CA's Chief Financial Officer, Ira Zar, discussed the
fact that former CA salespeople had accused CA of engaging in the
35-day month practice. Kumar falsely denied that CA had engaged
in such a practice and suggested to the attorneys from the
Company’s Law Pirm that because quarterly commissions paid to CA
‘salespeople regularly included commissions on license agreements °}
not finalized until after the end of the quarter, the salespeople
might assume, incorrectly, that revenue associated with those
agreements wae recognized by CA within the quarter. Kumar knew
that this explanation was false and intended that the Company’ s
Law Firm would present this false explanation to the United
Statea Attorney's Office, the SEC and the FBI as part of an
effort to persuade those entities that the accusations of the
former salespeople were unfounded and that the 35-day month

practice never existed.

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34. During the course of the Government
Investigations, the United States Attorney's Office, the FBI and
the SEC regularly requested that CA produce certain CA employees
to be interviewed. As part of his duties as General Counsel,
Steven Woghin coordinated CA‘s compliance with the government’ s
requests. Sanjay Kumar frequently met and conferred with Woghin
during the course of the Government Investigations. Among other
things, Kumar instructed Woghin to meet with CA employees prior
to their being interviewed by the government or by the Company’s
Law Firm to coach the employees on how to answer questions
without disclosing the existence of the 35-day month practice.
On several occasions, Kumar himself coached CA employees on how
to answer questions without disclosing the existence of the 35-
day month practice.

35. On September 6, 2002, CA executive Lloyd
Silverstein was interviewed by the United States Attorney’s
Office, the FBI and the SEC. Prior to that interview, in August
and early-September 2002, Silverstein met and conferred with
several other CA executives. During these meetings, the
executives agreed that, acting in concert, they would deny and
otherwise fail to disclose the existence of the 35-day month
practice, in part by giving intentionally vague or misleading
answers to questions about the existence of the practice.

Accordingly, during the September 6, 2002 interview, Silverstein

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did not disclose and otherwise concealed the existence of the 35-
day month practice.

36. In or about July 2003, the Audit Committee of
CA's board of directors retained a second law firm (the “Audit
Committee’s Law Firm’) to conduct an internal investigation into
CA's accounting practices, focusing on the 35-day month practice.
As part of its internal investigation, the Audit Comaittee's Law
Firm conducted interviews of CA executives and employees.

37. On or about October 6, 2003, January 14, 2004,
January 22, 2004, and April 6, 2004, Sanjay Kumer was interviewed
by attorneys from the Audit Committee’s Law Firm. During these
interviews, Kumar did not disclose, but inetead faleely denied
and otherwise concealed, the existence of the 35-day month
practice. Kumar knew that certain of the statements he made

during the interviews were false and that he otherwise concealed

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during the interviews information which he knew to be material to

the Government Investigations. Kumar further knew, and in fact

intended, that his false statements and concealment of material

information would have the effect of obetructing and impeding the

Government Investigations.
36. On October 23, 2003, CA's Head of Worldwide Sales,
Steven Richards, testified under oath before the SEC in the

Matter of: Computer Associates, Inc., File No. NY 7008. The

testimony was taken in Central Islip, New York. During his

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testimony, Richards gave knowingly and willfully false testimony
in an attempt to conceal the existence of the 35-day month
practice.

39. On November 5, 2003, Sanjay Kumar was interviewed
by FBI agents and others at the United States Attorney’s Office
in Brooklyn, New York. During the interview, Kumar made
materially false statements and representations in an attempt to

conceal the existence of the 35-day month practice.

(seceeteee Fraud)

40. The allegations contained in paragraphs 1 through
39 are realleged and incorporated as if fully set forth in this’
paragraph.

41. On or about and between April 1, 1998 and
September 30, 2000, both dates being approximate and inclusive,
within the Eastern District of New York and elsewhere, the
defendant COMPUTER ASSOCIATES INTERNATIONAL, INC. did knowingly
and willfully, directly and indirectly: (a) use and employ
manipulative and deceptive devices and contrivances in violation
of Rule 10b-5 of the Rules and Regulations of the SEC (Title 17,
Code of Federal Regulations, Section 240.10b5), in that the
defendant did knowing and willfully, directly and indirectly,
(1) employ devices, schemes, and artifices to defraud; (2) make
untrue statementa of material fact and omit to state material

facts necessary in order to make statements made, in light of the

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circumstances under which they were made, not misleading; and
{3) engage in acte, practices, and courses of business which
would and did operate as a fraud and deceit upon membere of the
investing public, in connection with purchases and sales of CA
securities, and by use of interstate commerce and the mails.
(Title 15, United States Code, Sections 76j(b) and

78ff; Title 18, United States Code, Sections 3551 et esq.)

(opstrucrien cf Justice)

42. The allegations contained in paragraphs 1 through
39 are realleged and incorporated as if fully eet forth in this
paragraph.

43. In or about and between February 2002 and April 6,
2004, both dates being approximate and inclusive, within the
Eastern District of New York and elsewhere, the defendant @
COMPUTER ASSOCIATES INTERNATIONAL, INC. did knowingly,
intentionally and corruptly obstruct, influence and impede
official proceedings, to wit: the Government Inveatigations.

(Title 18, United States Code, Sections 1512 (c) (2) and

3551 et peg.)

 

ROSLYNN R. MAUSKOPF
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK

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STIPULATION OF FACTS

In any criminal proceeding brought by the United States Attomcey’s Office

for the Eastern District of New York, the following stipulation by Computer Associates

International, Inc. (“CA”) shall be admissible against CA pursuant to Rules 801(d)(2) and
804(b)(3) of the Federal Rules of Evidence:

Computer Associates

1.

CA is a Delaware corporation with its headquarters and principal place of
business located in Islandia, New York. CA is one of the world’s leading
providers of computer software for use by businesses. CA’s reported revenue for
its fiscal year ending March 31, 1999 was $5.253 billion. CA’s reported revenue
for its fiscal year ending March 31, 2000 was $6.776 billion.

CA is a publicly traded corporation, the common stock of which is listed on the
New York Stock Exchange. CA’s shareholders are located throughout the United
States, including in the Eastern District of New York.

CA does not sell or transfer title to its products to its customers. Instead, CA
licenses its products pursuant to license agreements by which CA’s customers
agree to pay a one-time license fee and an annual usage and maintenance fee.

Since at least Apri} 1, 1998, under Generally Accepted Accounting Principles
(“GAAP”), four conditions must be satisfied for revenue associated with a
software license agreement to be recognized: (a) persuasive evidence of an
arrangement exists; (b) delivery of the licensed products has occurred; (c) the
license fee is fixed or determinable; and (d) the collectibility of the license fee is
probable. When a written contract is used to memorialize a license agreement,
the GAAP “persuasive evidence” criterion requires that the contract be signed by
both software vendor and customer. Accordingly, under GAAP, for CA properly
to recognize revenue from a license agreement in a particular fiscal quarter, the
license agreement must be signed by both CA and its customer within that
quarter.

Until CA's adoption of its New Business Model in October 2000, when a
software license agreement was finalized, for accounting purposes CA allocated
its revenue among the license fee and the usage and maintenance fees, with 80
percent or more normally allocated to the license fee. CA then calculated the
present value of the license fee, which was normally collected incrementally over
the term of the agreement. The present value of the license fee, which was
referred to within CA as the “GAAP Value,” was then recognized as revenue in
the quarter in which the agreement was purportedly finalized and signed.

Prior to and during CA’s fiscal year 2000, professional stock analysts estimated

what they belicved would be CA’s total revenue during a quarter and predicted
the earnings per share of CA stock. The average of the estimates of the

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professional analysts was commonly referred to as the “consensus estimate.” @
CA’s failure to meet or exceed the consensus estimate for a quarter would likely
result in a substantial decrease in the company’s stock price. For example, on
July 3, 2000, CA issued a press release which reported that the company expocted
“financial results for the first quarter ending June 30, 2000 to be fess than current
Wall Street estimates.” In the press release, CA cited as one of the factors
contributing to its failure to meet the consensus estimate “the fact that several
large contracts that were expected to close in the final days of the quarter have
been delayed ....” On the date of the press release, which was issued after the
market closed, CA’s stock price closed at $51.12 per share. On the next trading
day, July 5, 2000, CA’s stock price opened at $29.00 per share, representing a
percentage drop of slightly more than 43 percent.

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7. Prior to and during CA's fiscal year 2000, which ended March 31, 2000, multiple
former CA officers, executives and employees engaged in a systemic, company-
wide practice of falsely and fraudulently recording and reporting within fiscal
quarters revenues associated with certain license agreements even though those
license agreements had not in fact been finalized and signed during the given
quarter. This practice, which was sometimes referred to within CA as the “35-day
month” or the “three-day window,” violated GAAP and resulted in CA’s filing of
materially false financial statements, The practice was referred to as the “35-day
month” because it involved artificially extending months, primarily the last month
of a fiscal quarter, for accounting purposes, beyond the truc end of the month.

The practice did not, however, only result in months that were artificially @
extended to 35 days. Instead, months were often artificially extended even

longer. Nonetheless, for the sake of simplicity, the practice is referred to

hereinafter as the “35-day month practice.”

8. The central goal of the 35-day month practice was to permit CA to report that it
met or exceeded its projected quarterly revenue and earnings when, in truth, CA
had not met its projected quarterly revenue and earnings. As a result of the
practice, CA reported falsely to investors and regulators during multiple fiscal
quarters, including each of the four quarters of CA’s fiscal year 2000, thet it had
met or exceeded its consensus estimates. In fact, during each of the four quarters
of fiscal year 2000, CA improperly recognized and falsely reported hundreds of
millions of dollars of revenue associated with numerous license agreements that
had been finalized afler the quarter close. In so doing, CA made
misrepresentations and omissions of material fact which were relied upon by
members of the investing public.

9. As part of the 35-day month practice, certain former CA executives routinely
extended CA’s fiscal quarters, normally for three business days. This practice,
which was often referred to as “keeping the books open,” was designed and
executed so that CA could falsely record and report revenue associated with
backdated license agreements finalized after the end of a fiscal quarter. The

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period including three business days after the end of a fiscal quarter was referred
to within CA as the “flash period.”

As a further part of the 35-day month practice, certain former CA executives
regularly met and conferred with each other in the days leading up to and
following the end of fiscal quarters, including during the flash period. The
purpose of these meetings was to determine whether CA had generated, for the
quarter just ended, including during the flash period, sufficient revenues to moot
the consensus estimate. In each of the four quarters of CA’s fiscal year 2000, the
former CA executives collectively determined that the total revenue generated for
the quarter was less than needed to meet the consensus estimate. In each such
instance, CA kept its books open for additional days beyond even the flash period
in order to generate sufficient revenues to meet the consensus estimate.

As a further part of the 35-day month practice, while CA’s books were held open,
certain former CA executives instructed CA sales managers and salespeople to
negotiate and finalize additional license agreements, which were backdated to
disguise the fact that the agreements had been finalized after the end of the fiscal
quarter. CA then fraudulently recorded and reported in the earlier quarter revenue
associated with the backdated agreements.

As a further part of the 35-day month practice, numerous former CA officers and
executives concealed the existence of the improper practice from CA’s outside
auditors. Among other things, CA executives engaged in a practice of “cleaning
up” copies of backdated license agreements before providing copies of the
agreements to CA's outside auditors. This practice included, but was not limited
to, removing from license agreements facsimile stamps and other notations which
showed the true date on which the agreements were finalized. This practice was
designed and carried out to prevent CA’s outside auditors, and by extension the
investing public, from learning of CA’s failure to meet or exceed the consensus
estimates for the given quarter.

For the first quarter of CA's fiscal year 2000, which ended June 30, 1999, CA
improperly recognized revenue associated with approximately 22 license
agreements with an aggregate GAAP Value of approximately $240 million. Of
this total, approximately $120 million was associated with license agreements
signed by CA customers after June 30, 1999, while approximately $120 million
was associated with license agreements countersigned by CA after June 30, 1999,
The improperly recognized revenue represented approximately 20 percent of
CA’s reported revenue for the quarter. On or about July 20, 1999, CA filed with
the SEC its quarterly report on Form 10-Q and issued a related press release. In
these public documents, CA falsely reported its quarterly financial results, in that
CA reported revenue for the first quarter of fiscal year 2000 that included revenue
associated with license agreements finalized after June 30, 1999. Through its
false filings and statements, CA reported earnings per share of 49 cents exclusive
of non-recurring charges and thereby created the false and fraudulent appearance

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that CA had exceeded the consensus earnings estimate for the quarter by two @
cents per share.

14, For the second quarter of CA’s fiscal year 2000, which ended September 30,
1999, CA improperly recognized revenue associated with approximately 58
license agreements with an aggregate GAAP Value of approximately $560
million. Of this total, approximately $470 million was associated with license
agreements signed by CA customers after September 30, 1999, while
approximately $90 million was associated with license agreements countersigned
by CA after September 30, 1999. The improperly recognized revenue represented
approximately 35 percent of CA’s reported revenue for the quarter. On or about
October 19, 1999, CA filed with the SEC its quarterly report on Form 10-Q and
issued a related press release. In these public documents, CA falsely reported its
quarterly financial results, in that CA reported revenue for the second quarter of
fiscal year 2000 that included revenue associated with license agreements.
finalized after September 30, 1999. Through its false filings and statements, CA
reported earnings per share of 60 cents exclusive of non-recurring charges and
thereby created the false and fraudulent appearance that CA had exceeded the
consensus earings estimate for the quarter by one cent per share.

15. For the third quarter of CA’s fiscal year, which ended December 31, 1999, CA
. improperly recognized revenue associated with approximately 49 liconse

agreements with an aggregate GAAP Valuc of approximately $570 million. Of
this total, approximately $400 million was associated with license agrecments
signed by CA customers after December 31, 1999, while approximately $170
million was associated with license agreements countersigned by CA after @ a
December 31, 1999. The improperly recognized revenue represented
approximately 32 percent of CA’s reported revenue for the quarter. On or about
January 26, 2000, CA filed with the SEC its quarterly report on Form 10-Q and
issued @ related press release. In these public documents, CA falsely reported its
quarterly financial results, in that CA reported revenue for the third quarter of
fiscal year 2000 that included revenue associated with license agreements
finalized after December 31, 1999. Through its false filings and statements, CA
reported earnings per share of 91 cents exclusive of non-recurring charges and
thereby created the false and fraudulent appearance that CA exceeded the
consensus earnings estimate for the quarter by one cent per share.

16. For the fourth quarter of CA’s fiscal year 2000, which ended March 31, 2000, CA -
improperly recognized revenue associated with approximately 36 license
agreements with an aggregate GAAP Value of approximately $380 million, Of
this total, approximately $200 million was associated with license agreements
signed by CA customers after March 31, 2000, while approximately $180 million
was associated with license agreemen*, countersigned by CA after March 31,

2000. The improperly recognized revenue represented approximately 18 percent
of CA’s reported revenue for the quarter. On or about May 15, 2000, CA filed
with the SEC its annual report on Form 10-K and issued a related press release.

in these public documents, CA falsely reported its quarterly financial results, in

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that CA reported revenue for the fourth quarter of fiscal year 2000 that included
revenue associated with license agreements finalized after March 31, 2000.
Through its false filings and statements, CA reported earnings per share of $1.13
cents exclusive of non-recurring charges and thereby created the false and

fraudulent appearance that CA had met the consensus earnings estimate for the
quarter.

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In or about the beginning of 2002, the United States Attorney's Office for the
Easter District of New York (the “United States Attorney's Office”), the Federal
Bureau of Investigation (the “FBI”) and the Northeast Regional Office of the
Securities and Exchange Commission (the “SEC”) began investigations into CA's
accounting practices, including whether, during the late-1990s and thereafter, CA
engaged in improper accounting practices with the iment to overstate its fiscal
quarterly revenue to make it appear as though the company had met consensus
estimates. Since June 2002, a grand jury sitting in the Eastern District of New
York has been considering evidence about CA’s accounting practices. (These
investigations are referred to collectively as the “Government Investigations.”)

In or about February 2002, CA retained a law firm (the “Company’s Law Firm”)
to represent it in connection with the Government Investigations. Through the
Company’s Law Firm, CA represented to the United States Attorney’s Office, the
FBI and the SEC that it was committed to cooperating fully with the Government
Investigations. This representation was also made publicly by CA in press
releases, SEC filings and other public statements. Additionally, in a press release
issued on February 20, 2002, CA denied that it had engaged in any improper
accounting practices, declaring: “The reporting of our financial results has always
been in accordance with applicable accounting principles.”

Shortly after being retained in February 2002, the Company’s Law Firm met with
certain former CA officers and executives in order to inquire into their knowledge
of the practices that were the subject of the Government Investigations. During
these meetings, the former officers and executives did not disclose, falsely denied
and otherwise concealed the existence of the 35-day month practice. Moreover,
the former officers and executives concocted and presented to the Company's
Law Firm an assortment of false justifications, the purpose of which was to
support their false denials of the 35-day month practice. The former officers and
executives knew, and in fact intended, that the Company's Law Firm would and
did present these false justifications to the United States Attorney's Office, the
FBI and the SEC, and further knew and believed that their false statements and
concealment of material information would have the effect of obstructing and
impeding the Government Investigations.

On September 6, 2002, former CA executive Lloyd Silverstein was interviewed
by FBI agents and others at the United States Attorney’s Office in Brooklyn, New
York. During the interview, Silverstein made materially false statements and

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representations in an attempt to conceal the existence of the 35-day month S
practice and his involvement in the practice.

21. In late-July 2003, the Audit Committee of CA's Board of Directors retained a
second law firm (the “Audit Committee’s Law Firm”) to conduct an internal
investigation into CA’s accounting practices, focusing on the 35-day month
practice. As part of its internal investigation, the Audit Committee’s Law Firm
conducted interviews of, and met with, CA executives and officers. During these
interviews and meetings, certain former CA officers and executives did not
disclose, falsely denied and otherwise concealed the existence of the 35-day
month practice. Moreover, the former officers and executives concocted and
presented to the Audit Committee’s Law Firm, and members of CA's Audit
Committee, an assortment of false justifications, the purpose of which was to
support their false denials of the 35-day month practice. The former officers and
executives knew and believed that their false statements and concealment of
material information would have the effect of obstructing and impeding the
Government Investigations.

22. Before being interviewed by the Company’s Law Firm, the Audit Committee’s
Law Firm and the U.S. Attomey’s Office, the FBI and the SEC, certain former
CA officers and executives met and conferred with one another. During these
meetings, the former officers and executives agreed that, acting in concert, they
would falsely deny and otherwise conceal the existence of the 35-day month
practice, in part by giving intentionally vague or misleading answers to questions
about the existence of the practice.

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